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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION


 In re
                                                            Case No.: 19-34574-KRH
 LeClairRyan, PLLC,

                Debtor.                                     Chapter 7


 Lynn Tavenner, Chapter 7 Trustee,

                Plaintiff,
                                                             Adv. Proc.: 20-03142-KRH
 v.

 ULX Partners, LLC, et al.,

                Defendants.


 Lynn Tavenner, Chapter 7 Trustee,

                Plaintiff,

 v.                                                          Adv. Proc.: 21-03095-KRH

 CVC Capital Partners, et al.,

                Defendants.


        THE UNITED STATES TRUSTEE’S STATEMENT OF THE ISSUES AND
      DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

         John P. Fitzgerald, III, Acting United States Trustee for Region Four, which includes the


 Kathryn R. Montgomery, Esq., AUST (Va. Bar No. 42380)
 Shannon Pecoraro, Esq. (Va. Bar No. 46864)
 Jason B. Shorter, Esq. (Va. Bar No. 80989)
 Office of the United States Trustee
 701 East Broad Street - Suite 4304
 Richmond, VA 23219
 Telephone (804) 771-2310
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 Eastern District of Virginia, pursuant to Rule 8009 of the Federal Rules of Bankruptcy Procedure,

 files this Statement of the Issues and Designation of Items to be Included in the Record on Appeal.

 See Notice of Appeal, Dkt. Nos. 1505 (Case no. 19-34574-KRH); 273 (Adv. Pro. no. 20-03142);

 and 83 (Adv. Pro. 21-03095).

                                STATEMENT OF THE ISSUES

  1.    Whether the bankruptcy court erred when it granted the motion to seal the following
        documents and only approved the public filing of redacted versions of them:

        a.      The Trustee’s Motion and Memorandum of Law for Entry of an Order (I)
                Approving (A) Judicially Mediated Settlement and (B) Compensation to Counsel
                Including an Improvident Payment Under Section 328(a); and (II) Granting
                Related Relief and all exhibits thereto filed in Bankr. Case No. 19-34574, Dkt.
                Nos. 1328, 1396; Adv. Case No. 20-03142-KRH, Dkt. Nos. 211, 254; and Adv.
                Case No. 21-03095, Dkt. Nos. 56, 78.
        b.      The April 19, 2022, transcript, filed in Adv. Case No. 20-03142-KRH No. 200.
        c.      The Supplemental Objection of the United States Trustee to Trustee’s Motion and
                Memorandum of Law for Entry of an Order (I) Approving (A) Judicially
                Mediated Settlement and (B) Compensation to Counsel Including an Improvident
                Payment Under Section 328(A); and (II) Granting Related Relief, filed in Case
                No. 19-34574, Dkt. No. 1370; Adv. Case No. 20-03142-KRH, Dkt. No. 243; Adv.
                Case No. 21-03095, Dkt. No. 69.
        d.      The Declaration of Lynn L. Tavenner, Trustee filed in Case No. 19-34574, Dkt.
                No. 1374.
        e.      The Declaration of Brittany J. Nelson regarding and all exhibits thereto, filed in
                Case No. 19-34574, Dkt. No. 1380; Adv. Case No. 20-03142-KRH, Dkt. No. 249;
                Adv. Case No. 21-03095, Dkt. No. 73.
        f.      The Reply in Support of Trustee’s Motion and Memorandum of Law for Entry of
                an Order (I) Approving (A) Judicially Mediated Settlement and (B) Compensation
                to Counsel Including an Improvident Payment Under Section 328(A); and (II)
                Granting Related Relief, filed in Case No. 19-34574 Nos. 1386, 1396, Adv. Case
                No. 20-03142-KRH, Dkt. Nos. 252, 254; Adv. Case No. 21-03095, Dkt. Nos. 77,
                78.
        g.      The ULX Partners, LLC’s, UnitedLex Corporation’s, and ULX Manager, LLC’s
                Supplement to Their Previously-Filed Motion To Seal Settlement Agreement and
                Related Documents, Information, and Hearings, filed in Case No. 19-34574, Dkt.
                No. 1479; Adv. Case No. 20-03142-KRH, Dkt. No. 269; and
        h.      The Declaration of ULX Partners, LLC, UnitedLex Corporation, and ULX
                Manager, LLC in Support of Motion to Seal, filed in Case No. 19-34574, Dkt. No.
                1486; Adv. Case No. 20-03142-KRH, Dkt. No. 270.
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         i.        The bankruptcy court’s memorandum opinion, filed in Case No. 19-34574, Dkt.
                   No. 1450.
         j.        The transcript of proceedings held on May 25, 2022.
         k.        The transcript of proceedings held on May 26, 2022.
         l.        The transcript of proceedings held on June 8, 2022.
         m.        The transcript of proceedings held on June 14, 2022.


                   ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL




  PLEASE NOTE: These designations include documents filed under seal by
  Order of the bankruptcy court. Pursuant to Rule 8009(f) of the Federal
  Rules of Bankruptcy Procedure, the clerk of the bankruptcy court shall not
  transmit any materials filed under seal to the district court until such time
  as the district court enters an order allowing such transmission. The United
  States Trustee will be filing a motion in the district court requesting such
  an order.



                               In re LeClairRyan, PLLC, Case 19-34574

      Docket No.                                        Description

                      Docket Sheet

  1                   Chapter 11 voluntary petition non-individual

  3                   Declaration (Declaration of Lori D. Thompson, Esq. in Support of Chapter 11
                      Petition and First Day Motions)

  9                   Motion to File Document(s) Under Seal (Motion of LeClairRyan PLLC
                      Pursuant to Sections 105 and 107 of the Bankruptcy Code and Bankruptcy Rule
                      9018 for Entry of an Order Authorizing LeClairRyan PLLC to File Under Seal
                      Exhibit B to the Motion to LeClairRyan PLLC for Entry of Interim and Final
                      Orders Approving Settlement Procedures and Compromising Accounts
                      Receivable and Related Relief)

  10                  Sealed Exhibit


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   Docket No.                                   Description

  14            Declaration (Declaration of Guy A. Davis in Support of Motion of LeClairRyan
                PLLC for Entry of Interim and Final Orders Authorizing the Debtor to Use Cash
                Collateral and Granting Adequate Protection and Related Relief)

  42            Order Authorizing LeClairRyan PLLC to File Under Seal Exhibit B to the
                Motion of LeClairRyan PLLC for Entry of Interim and Final Orders Approving
                Settlement Procedures and Compromising Accounts Receivable and Related
                Relief

  45            Transcript of Hearing Held 9/3/2019

  61            Motion to Convert Case to Chapter 7

  82            Motion for Joinder of Michele Craddock in Motion of United States Trustee to
                Convert Case to Chapter 7

  90            Motion for Joinder of Motion to Convert

  99            Statement in Support of Motion of United States Trustee to Convert Case to
                Chapter 7

  101           Response to (Response of LeClairRyan PLLC to Motion of United States
                Trustee to Convert Case to Chapter 7)

  103           Declaration (Supplemental Declaration of Guy A. Davis in Support of the
                Application of LeClairRyan PLLC for Entry of an Order Authorizing the
                Employment and Retention of Protiviti Inc. as Financial Advisor for
                LeClairRyan PLLC Effective as of the Petition Date)

  104           Declaration (Supplemental Declaration of Tyler P. Brown in Support of the
                Application of LeClairRyan PLLC for Entry of an Order Authorizing the
                Employment and Retention of Hunton Andrews Kurth LLP as Counsel for
                LeClairRyan PLLC Effective as of the Petition Date)

  110           Declaration of John McCauley (Re: related document(s)13 Motion to Approve
                Use of Cash Collateral filed by LeClairRyan PLLC, 41 Order
                Continuing/Rescheduling/Setting Hearing)

  128           Transcript of Hearing Held 9/26/2019

  134           Order Denying Motion to Convert

  140           Order Granting Motion to Convert Case to Chapter 7

  142           Trustee’s Application to Employ Tavenner & Beran PLC


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   Docket No.                                    Description

  152           Order Granting Application to Employ Tavenner & Beran PLC

  154           Supplemental Order on Conversion

  175           Appointment of Interim Trustee

  208           Non-Individual’s Schedules and or Statements, Lists

  209           Non-Individual Schedules and/or Statements, Lists

  211           Non-Individual’s Schedules and or Statements, Lists regarding Statement of
                Financial Affairs

  263           Transcript of Hearing Held 11/21/2019

  330           Trustee’s Application to Employ Foley & Lardner

  342           Order Approving Trustee’s Application to Employ Foley & Lardner, LLP

  345           Motion for procedures re avoidance actions

  349           Notice of Appearance filed by Erika L. Morabito of Foley & Lardner, LLP

  385           Ordre Granting Motion for Procedures re Avoidance Actions

  435           Declaration of Lynn L. Tavenner, Chapter 7 Trustee, in support of matters set
                for hearing on April 30, 2020

  448           First Interim Application for Compensation for Tavenner & Beran PLC

  450           Application for Compensation for Lynn L. Tavenner

  451           First Interim Application for Compensation for Foley & Lardner, LLP

  457           Trustee’s Motion to Approve Motion for and Order Establishing Procedures
                Regarding the Prosecution of Actions Involving Former Attorneys and Certain
                Others and Memorandum in Support Thereof

  515           Exhibit A - Proposed List of Mediators

  516           Amended Exhibit A - Proposed List of Mediators

  517           Exhibit B - Settlement Agreement

  518           Declaration of Lynn L. Tavenner, Trustee



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  533           Order Establishing Procedures Regarding the Prosecution of Actions Involving
                Former Attorneys

  538           Declaration of Lynn L. Tavenner, Trustee

  555           Motion for 2004 Examination

  595           Order Granting Motion for 2004 Examination

  562           Order Granting First Interim Application for Compensation for Tavenner &
                Beran PLC

  587           Order Granting First Interim Application for Compensation for Foley &
                Lardner, LLP

  604           Declaration of Lynn L. Tavenner, Trustee

  622           Second Interim Application for Compensation for Tavenner & Beran PLC

  623           Application for Compensation (Application for Compensation of Professional
                Accountant)

  625           Second Interim Application for Compensation for Foley & Lardner, LLP

  637           Declaration of Lynn L. Tavenner, Trustee

  653           Transcript of Hearing Held 4/30/2020

  654           Transcript of Hearing Held 6/25/2020

  655           Transcript of Hearing Held 8/27/2020

  657           Order Granting Second Interim Application for Compensation for Foley &
                Lardner, LLP

  666           Adversary Case 20-03142 Complaint Against ULX Partners, LLC, UnitedLex
                Corporation,

  669           Declaration of Lynn L. Tavenner, Trustee

  670           Exhibit A (Re: related document(s)669 Declaration filed by Lynn L. Tavenner)

  671           Exhibit B - Part 1 of 2 (Re: related document(s)669 Declaration filed by Lynn
                L. Tavenner)



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  672           Exhibit B - Part 2 of 2 (Re: related document(s)669 Declaration filed by Lynn
                L. Tavenner)

  689           Transcript of Hearing Held 10/30/2020

  713           Declaration of Lynn L. Tavenner, Trustee

  721           Transcript of Hearing Held 12/17/2020

  733           Third Interim Application for Compensation for Tavenner & Beran PLC

  736           Third Interim Application for Compensation for Foley & Lardner, LLP

  737           Transcript filed Re: Hearing Held 10/4/2019

  739           Transcript filed Re: Hearing Held 10/24/2019

  743           Transcript filed Re: Hearing Held 12/19/2019

  752           Declaration of Lynn L. Tavenner, Trustee

  757           Transcript of Hearing Held 10/29/2020

  758           Transcript of Hearing Held 1/28/2021

  769           Order Granting Application for Compensation for Tavenner & Beran, PLC

  770           Order Granting Second Interim Application for Compensation for Tavenner &
                Beran PLC

  779           Order Granting Third Interim Application for Compensation for Foley &
                Lardner, LLP

  786           Declaration of Lynn L. Tavenner, Trustee

  795           Declaration of Lynn L. Tavenner, Trustee

  803           Transcript of Hearing Held 3/25/2021

  811           Sealed Notice (Attachments: # 1 Exhibit A to Notice # 2 Exhibit 1 to Ex. A # 3
                Exhibit 2 to Ex. A # 4 Exhibit 3 to Ex. A # 5 Exhibit 4 to Ex. A # 6 Exhibit 5 to
                Ex. A # 7 Exhibit 6 to Ex. A # 8 Exhibit 7 to Ex. A # 9 Exhibit 8 to Ex. A # 10
                Exhibit 9 to Ex. A # 11 Exhibit 10 to Ex. A # 12 Exhibit 11 to Ex. A # 13 Exhibit
                12 to Ex. A # 14 Exhibit 13 to Ex. A # 15 Exhibit 14 to Ex. A # 16 Exhibit 15
                to Ex. A # 17 Exhibit 16 to Ex. A # 18 Exhibit 17 to Ex. A # 19 Exhibit 18 to
                Ex. A # 20 Exhibit 19 to Ex. A # 21 Exhibit 20 to Ex. A # 22 Exhibit 21 to Ex.

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                A # 23 Exhibit 22 to Ex. A # 24 Exhibit 23 to Ex. A # 25 Exhibit 24 to Ex. A #
                26 Exhibit 25 to Ex. A # 27 Exhibit 26 to Ex. A # 28 Exhibit 27 to Ex. A # 29
                Exhibit 28 to Ex. A # 30 Exhibit 29 to Ex. A # 31 Exhibit 30 to Ex. A # 32
                Exhibit 31 to Ex. A # 33 Exhibit 32 to Ex. A # 34 Exhibit 33 to Ex. A # 35
                Exhibit 34 to Ex. A # 36 Exhibit 35 to Ex. A # 37 Exhibit 36 to Ex. A # 38
                Exhibit 37 to Ex. A)

  830           Sealed Exhibit

  835           Declaration of Lynn L. Tavenner, Trustee

  838           Objection to Consummation of Proposed FAO Settlements

  845           Fourth Interim Application for Compensation for Foley & Lardner, LLP

  846           Sealed Exhibit to Fourth Interim Application for Compensation for Foley &
                Lardner, LLP

  847           Fourth Interim Application for Compensation for Tavenner & Beran PLC

  852           Trustee’s Motion to Modify Procedures Regarding the Prosecution of Actions
                Involving Former Attorneys and Certain Others and Memorandum in Support
                Thereof

  854           Motion to File Document(s) Under Seal - Motion For Authority To Limit Access
                To Settlement Agrement Filed Under Seal And To Seal Hearing On Approval
                Of Said Settlement, If Necessary

  857           Motion for Relief from Stay Re: Insurance Policy

  860           Transcript of Hearing Held 4/27/2021

  891           Omnibus Objection to Trustee’s Motion to Modify Procedures Regarding the
                Prosecution of Actions Involving Former Attorneys and Certain Others and
                Memorandum in Support Thereof filed by ULX Partners, LLC, UnitedLex
                Corporation

  893           Declaration of Lynn L. Tavenner, Trustee

  894           Trustee’s Response to Omnibus Objection filed by ULX Partners, LLC,
                UnitedLex Corporation (ECF 891)

  906           Transcript of Hearing Held 5/27/2021

  908           Trustee’s Application to Employ Quinn Emanuel Urquhart & Sullivan, LLP as


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                Special Counsel to Chapter 7 Trustee

  911           Order Granting Fourth Interim Application for Compensation for Tavenner &
                Beran PLC

  921           Objection to Trustees Answer And Limited Objection To The Motion For Relief
                From The Automatic Stay

  922           Limited Response to Limited Response and Reservation of Rights

  924           Declaration of Lynn L. Tavenner, Trustee

  929           Order Granting Trustee’s Motion to Modify Procedures Regarding the
                Prosecution of Actions Involving Former Attorneys and Certain Others (ECF
                852)

  931           Order Granting Fourth Interim Application for Compensation for Foley &
                Lardner, LLP

  932           Order Granting Motion for Authority to Limit Access to Settlement Agreement
                Filed Under Seal and to Seal Hearing on Approval of Related Settlement

  937           Order Granting Trustee’s Application to Employ Quinn Emanuel Urquhart &
                Sullivan, LLP as Special Counsel to Chapter 7 Trustee

  940           Transcript of Hearing Held 6/24/2021

  944           Motion to Authorize Disclosure of Certain Settlement Materials

  949           Declaration of Lynn L. Tavenner, Trustee

  950           Amended Exhibit A to Declaration filed by Lynn L. Tavenner

  951           Exhibit Re: Motion for Relief from Stay filed by Columbia Casualty Company

  957           Transcript to Hearing Held 7/22/2021

  962           Trustee’s Second Motion to Modify Procedures Regarding the Prosecution of
                Actions Involving Former Attorneys and Certain Others and Memorandum in
                Support Thereof

  965           Stipulation Granting Relief From Automatic Stay By Columbia Casualty
                Company

  969           Motion to File Documents Under Seal


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  971           Sealed Objection (Attachments: # 1 Exhibit(s) A # 2 Exhibit(s) B # 3 Exhibit(s)
                C # 4 Exhibit(s) D)

  973           Declaration of Lynn L. Tavenner, Trustee

  974           Exhibit A to Declaration of Lynn L. Tavenner, Trustee

  975           Exhibit B to Declaration of Lynn L. Tavenner, Trustee

  976           Schedule A to Trustee’s Second Motion to Modify Procedures Regarding the
                Prosecution of Actions Involving Former Attorneys and Certain Others and
                Memorandum in Support Thereof

  980           Consent Order Granting Motion for Relief from Stay and Establishing
                Procedures for Access to Proceeds of Insurance Policy

  982           Order Modifying Order governing Procedures Regarding the Prosecution of
                Actions Involving Former Attorneys and Certain Others

  983           Order Granting Motion to Allow Disclosure of Settlement Materials and to
                Establish Procedures for the Preservation of Privilege

  984           Transcript of Hearing Held 8/19/2021

  992           First Interim Application for Compensation for Quinn Emanuel

  993           Sealed Exhibit to First Interim Application for Compensation for Quinn
                Emanuel

  1032          Fifth Application for Compensation for Tavenner & Beran PLC

  1042          Adversary case 21-03095. Complaint against CVC Capital Partners, Daniel
                Reed, Nicholas Hinton, Josh Rosenfeld, P. Douglas Benson

  1052          Declaration of Lynn L. Tavenner, Trustee

  1059          Transcript of Hearing Held 9/23/2021

  1064          Order Granting Fifth Application for Compensation for Tavenner & Beran PLC

  1069          Sealed Notice (Attachments: # 1 Exhibit(s) Exhibit A # 2 Exhibit 1 (to Exhibit
                A) # 3 Ex 2 to Ex A # 4 Ex 3 to Ex A # 5 Ex 4 to Ex A # 6 Ex 5 to Ex A # 7 Ex
                6 to Ex A # 8 Ex 7 to Ex A # 9 Ex 8 to Ex A # 10 Ex 9 to Ex A # 11 Ex 10 to
                Ex A # 12 Ex 11 to Ex A # 13 Ex 12 to Ex A # 14 Ex 13 to Ex A # 15 Ex 14 to
                Ex A # 16 Ex 15 to Ex A # 17 Ex 16 to Ex A # 18 Ex 17 to Ex A # 19 Ex 18 to
                Ex A # 20 Ex. 19 to Ex A # 21 Ex 20 to Ex A # 22 Ex 21 to Ex A # 23 Ex 22 to

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                Ex A # 24 Ex 23 to Ex A # 25 Ex 24 to Ex A # 26 Ex 25 to Ex A # 27 Ex 26 to
                Ex A # 28 Ex 27 to Ex A # 29 Ex 28 to Ex A # 30 Ex 29 to Ex A # 31 Ex 30 to
                Ex A # 32 Ex 31 to Ex A # 33 Ex 32 to Ex A # 34 Ex 33 to Ex A # 35 Ex 34 to
                Ex A # 36 Ex 35 to Ex A # 37 Ex 36 to Ex A # 38 Ex 37 to Ex A # 39 Ex 38 to
                Ex A # 40 Ex 39 to Ex A # 41 Ex 40 to Ex A # 42 Ex 41 to Ex A # 43 Ex 42 to
                Ex A # 44 Ex 43 to Ex A # 45 Ex 44 to Ex A # 46 Ex 45 to Ex A # 47 Ex 46 to
                Ex A)

  1070          Statement Second Notice of Filing Under Seal of Proposed FAO Settlements

  1074          Trustee’s Supplemental Application to Employ Quinn Emanuel Urquhart &
                Sullivan, LLP as Special Counsel to Chapter 7 Trustee

  1075          Order Granting First Interim Application for Compensation for Quinn Emanuel

  1079          Declaration of Lynn L. Tavenner, Trustee

  1081          Sealed Notice

  1082          Statement Third Notice of Filing Under Seal of Proposed FAO Settlements

  1085          Order Granting Trustee’s Supplemental Application to Employ Quinn Emanuel
                Urquhart & Sullivan, LLP as Special Counsel to Chapter 7 Trustee (ECF 1074)

  1097          Declaration of Lynn L. Tavenner, Trustee

  1098          Exhibit A to Declaration of Lynn L. Tavenner, Trustee

  1099          Exhibits B & C to Declaration of Lynn L. Tavenner, Trustee

  1103          Motion to Approve Compromise and Settlement and Memorandum of Law

  1109          Memorandum of Law In Support of Trustee's Motion for Approval of
                Compromise and Settlement

  1112          Declaration of Lynn L. Tavenner, Trustee

  1118          Transcript of Hearing Held 11/29/2021

  1120          Second Interim Application for Compensation for Quinn Emanuel

  1121          Sealed Exhibit to Second Interim Application for Compensation for Quinn
                Emanuel

  1122          Sixth Interim Application for Compensation for Tavenner & Beran PLC


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  1133          Order Granting Motion to Approve Settlement

  1145          Sealed Notice (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit
                4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15
                Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20
                Exhibit 20 # 21 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit 23 # 24 Exhibit 24)

  1146          Statement Fourth Notice of Filing Under Seal of Proposed FAO Settlements

  1159          Declaration of Lynn L. Tavenner, Trustee

  1168          Order Granting Second Interim Application for Compensation for Quinn
                Emanuel

  1169          Sealed Notice

  1170          Statement Fifth Notice of Filing Under Seal of Proposed FAO Settlements

  1178          Order Granting Sixth Interim Application for Compensation for Tavenner &
                Beran PLC

  1203          Transcript of Hearing Held 1/27/2022

  1206          Transcript of Hearing Held 12/21/2021

  1219          Declaration of Lynn L. Tavenner, Trustee

  1242          Seventh Interim Application for Compensation for Tavenner & Beran PLC

  1245          Third Interim Application for Compensation for Quinn Emanuel

  1249          Supplemental Third Interim Application for Compensation for Quinn Emanuel

  1252          Sealed Notice (Attachments: # 1 Exhibit(s) 1 # 2 Exhibit(s) 2 # 3 Exhibit(s) 3 #
                4 Exhibit(s) 4 # 5 Exhibit(s) 5 # 6 Exhibit(s) 6 # 7 Exhibit(s) 7 # 8 Exhibit(s) 8
                # 9 Exhibit(s) 9 # 10 Exhibit(s) 10 # 11 Exhibit(s) 11 # 12 Exhibit(s) 12 # 13
                Exhibit(s) 13 # 14 Exhibit(s) 14)

  1253          Statement Notice of Filing Under Seal of Certain Settlements

  1267          Sealed Exhibit to Third Interim Application for Compensation for Quinn
                Emanuel

  1269          Declaration of Lynn L. Tavenner, Trustee


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  1279          Transcript of Hearing Held 3/29/2022

  1282          Order Granting Third Interim Application for Compensation for Quinn Emanuel

  1288          Order Granting Seventh Interim Application for Compensation for Tavenner &
                Beran PLC

  1325          Motion to Restrict Public Access to Sensitive Case Information—Motion to Seal
                Settlement Agreement and Related Documents, Information and Hearings

  1326          Notice of Hearing on Motion to Restrict Public Access to Sensitive Case
                Information

  1328          Sealed Motion to Approve 9019

  1329          Notice of Motion and Notice of Hearing on Sealed Motion to Approve 9019

  1332          United States Trustee’s Objection to ULX Partners, LLC, UnitedLex
                Corporation and ULX Managers, LLC’s Motion to Seal Settlement Agreement
                and Related Documents, Information and Hearings

  1333          United States Trustee’s Objection to Trustee’s Motion and Memorandum of
                Law for Entry of an Order(I) Approving (A) Judicially Mediated Settlement and
                (B) Compensation to Counsel Including Improvident Payment under Section
                328(a) and (II) Granting Related Relief Filed Under Seal at Docket Number 211

  1335          United States Trustee’s Motion for a Status Hearing and Scheduling Order

  1336          United States Trustee’s Motion to Expediate Hearing

  1339          Trustee’s Objection to United States Trustee’s Motion for a Status Hearing and
                Scheduling Order

  1341          Order Continuing Hearing on Motion to Restrict Public Access to Sensitive Case
                Information—Motion to Seal Settlement Agreement and Related Documents,
                Information and Hearings (ECF 1325)

  1363          Motion to File Documents Under Seal by Foley & Lardner, LLP

  1365          Trustee’s Sealed Answer to Motion to File Documents Under Seal by Foley &
                Lardner, LLP

  1370          United States Trustee’s Sealed Objection

  1372          United States Trustee’s Motion to File Documents Under Seal and Reservation


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   Docket No.                                      Description

                of Rights

  1373          United States Trustee’s Motion to Expedite

  1374          Sealed Certification/Declaration/Statement to Sealed Motion to Approve 9019

  1375          Motion to Expedite filed by Foley & Lardner, LLP

  1380          Sealed Declaration with Exhibits 1-14 filed by Trustee

  1382          Interim Order to Seal Omnibus Settlement Agreement and Related Documents

  1386          Sealed Answer filed by Chapter 7 Trustee

  1387          Supplemental Sealed Declaration filed by Chapter 7 Trustee

  1388          Sealed Exhibit filed by Chapter 7 Trustee

  1393          Eighth Interim Application for Compensation for Tavenner & Beran PLC

  1396          Amended Sealed Exhibit filed by Chapter 7 Trustee (Settlement Agreement
                execution copy)

  1397          Sealed Supplemental Declaration of Geoffrey S. Goodman

  1402          Transcript of Hearing Held 6/8/2022

  1433          Declaration of Lynn L. Tavenner, Trustee

  1450          Sealed Memorandum Opinion

  1452          Unsealed and Redacted Memorandum Opinion

  1453          Order Approving Settlement

  1454          Motion for Approval of Agreement Re-docketed to file unsealed version with
                redactions

  1455          Transcript of Hearing Held 6/28/2022

  1460          Order Granting Eighth Interim Application for Compensation for Tavenner &
                Beran PLC

  1479          Supplemental Sealed Motion to Restrict Public Access to Sensitive Case
                Information—Motion to Seal Settlement Agreement and Related Documents,



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      Docket No.                                       Description

                   Information and Hearings with Exhibits 1-10 (ECF 1325)

  1480             Notice of Appeal

  1485             Declaration of Lynn L. Tavenner, Trustee

  1486             Sealed Declaration in support of Supplemental Sealed Motion to Restrict Public
                   Access to Sensitive Case Information—Motion to Seal Settlement Agreement
                   and Related Documents, Information and Hearings with Exhibits 1-10 (ECF
                   1325)

  1495             Transcript of Hearing Held 7/14/2022

  1499             Fourth Interim Application for Compensation for Quinn Emanuel

  1501             Corrected Exhibit A to Fourth Interim Application for Compensation for Quinn
                   Emanuel

  1502             Sealed Exhibit to Fourth Interim Application for Compensation for Quinn
                   Emanuel

  1503             Sealed Notice

  1504             Statement Notice of Filing Under Seal of Proposed FAO Settlements

  1505             Notice of Appeal




                   Tavenner v. ULX Partners, LLC, et al., Adv. Pro. 20-03142

       Dkt. No.                                        Description
                   Docket Sheet

  1                Complaint against ULX Partners, LLC, UnitedLex Corporation filed by Lynn
                   L. Tavenner, as Chapter 7 Trustee. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2
                   # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit
                   8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13
                   # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit
                   18 # 19 Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21 # 22 Exhibit 22
                   # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27 Exhibit
                   27 # 28 Exhibit 28)




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       Dkt. No.                                   Description
  2               Motion to Authorize Motion to Otherwise File Complaint (Re: related
                  document1 Complaint filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed
                  by Erika L. Morabito of Foley & Lardner on behalf of Lynn L. Tavenner, as
                  Chapter 7 Trustee. (Attachments: # 1 Ex. A (Part 1 of 1) # 2 Ex. A (Part 2 of 2)
                  # 3 Proposed Order)
  3               Order Granting Motion to Otherwise File Complaint (Related Doc # 2)

  4               Corrected Complaint against ULX Partners, LLC, UnitedLex Corporation (Re:
                  related document(s)1 Complaint filed by Lynn L. Tavenner, as Chapter 7
                  Trustee) filed by Erika L. Morabito of Foley & Lardner on behalf of Lynn L.
                  Tavenner, as Chapter 7 Trustee. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2
                  # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit
                  8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13
                  # 14 Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit
                  18 # 19 Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21 # 22 Exhibit 22
                  # 23 Exhibit 23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27 Exhibit
                  27 # 28 Exhibit 28)

  6               Summons and Notice of Pre-Trial Conference. Summons Issued to ULX
                  Partners, LLC Answer Due 12/7/2020; UnitedLex Corporation Answer Due
                  12/7/2020 (Re: related document(s)4 Amended Complaint filed by Lynn L.
                  Tavenner, as Chapter 7 Trustee)

  7               Stipulation By ULX Partners, LLC, UnitedLex Corporation and Between Lynn
                  L. Tavenner as Chapter 7 Trustee filed by Thomas John McKee Jr. of
                  Greenberg Traurig on behalf of ULX Partners, LLC, UnitedLex Corporation.
  9               Pre-Trial Order; (Re: related document(s)4 Amended Complaint filed by Lynn
                  L. Tavenner, as Chapter 7 Trustee) Trial set for 9/14/2021 - 9/24/2021 at 10:00
                  AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                  Virginia.
  11              Transcript of Hearing Held 12/17/2020

  13              Motion for Withdrawal of Reference and Memorandum in Support
                  Thereof filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of
                  ULX Partners, LLC, UnitedLex Corporation. (Attachments: # 1 Proposed
                  Order)
  15              Designation of Record Regarding Withdrawal of Reference (Re: related
                  document(s)13 Motion for Withdrawal of Reference (fee) filed by ULX
                  Partners, LLC, UnitedLex Corporation) filed by Thomas John McKee Jr. of
                  Greenberg Traurig on behalf of ULX Partners, LLC, UnitedLex Corporation.




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       Dkt. No.                                    Description
  16              Notice of Motion (Re: related document(s)13 Motion for Withdrawal of
                  Reference (fee) filed by ULX Partners, LLC, UnitedLex Corporation) filed by
                  Thomas John McKee Jr. of Greenberg Traurig on behalf of ULX Partners,
                  LLC, UnitedLex Corporation.
  17              Defendant's Motion to Dismiss Adversary Proceeding /Partially Dismiss the
                  Complaint filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of
                  ULX Partners, LLC, UnitedLex Corporation. (Attachments: # 1 Proposed
                  Order)
  18              Memorandum of Law in Support (Re: related document(s)17 Motion to
                  Dismiss Adversary Proceeding filed by ULX Partners, LLC, UnitedLex
                  Corporation) filed by Thomas John McKee Jr. of Greenberg Traurig on behalf
                  of ULX Partners, LLC, UnitedLex Corporation. (Attachments: # 1 Exhibit(s)
                  Exhibit A # 2 Exhibit(s) Exhibit B # 3 Exhibit(s) Exhibit C)
  19              Objection to (Plaintiff's Opposition to Defendants' Motion to Withdraw the
                  Reference) (Re: related document(s)13 Motion for Withdrawal of Reference
                  (fee) filed by ULX Partners, LLC, UnitedLex Corporation) filed by Erika L.
                  Morabito of Foley & Lardner on behalf of Lynn L. Tavenner, as Chapter 7
                  Trustee.
  20              Designation of Record Regarding Withdrawal of Reference (Re: related
                  document(s)13 Motion for Withdrawal of Reference (fee) filed by ULX
                  Partners, LLC, UnitedLex Corporation) filed by Erika L. Morabito of Foley &
                  Lardner on behalf of Lynn L. Tavenner, as Chapter 7 Trustee. Document(s)
                  due by 1/25/2021.
  21              Reply to Trustee's Objection to Defendants' Motion to Withdraw the
                  Reference (Re: related document(s)13 Motion for Withdrawal of Reference
                  (fee) filed by ULX Partners, LLC, UnitedLex Corporation) filed by Thomas
                  John McKee Jr. of Greenberg Traurig on behalf of ULX Partners, LLC,
                  UnitedLex Corporation.
  22              Supplemental Statement of the Record (Re: related document(s)13 Motion for
                  Withdrawal of Reference (fee) filed by ULX Partners, LLC, UnitedLex
                  Corporation, 15 Designation of Record Regarding Withdrawal of Reference
                  filed by ULX Partners, LLC, UnitedLex Corporation, 19 Objection to
                  Motion/Application filed by Lynn L. Tavenner, as Chapter 7 Trustee, 21 Reply
                  to Motion/Application filed by ULX Partners, LLC, UnitedLex Corporation)
                  filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of ULX
                  Partners, LLC, UnitedLex Corporation.
  23              Transmittal of Withdrawal of Reference to the U. S. District Court (Re: related
                  document(s)13 Motion for Withdrawal of Reference (fee) filed by ULX
                  Partners, LLC, UnitedLex Corporation)




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       Dkt. No.                                     Description
  24              Notification of Civil Action Number 3:21-cv-00077. (Re: related
                  document(s)23 Transmittal of Withdrawal of Reference to the U. S. District
                  Court)
  25              Objection to (Plaintiffs Opposition to Defendants Motion to Partially Dismiss
                  the Complaint) (Re: related document(s)17 Motion to Dismiss Adversary
                  Proceeding filed by ULX Partners, LLC, UnitedLex Corporation) filed by
                  Erika L. Morabito of Foley & Lardner on behalf of Lynn L. Tavenner, as
                  Chapter 7 Trustee.
  26              Reply to Trustee's Opposition to Defendants' Motion to Partially Dismiss the
                  Complaint (Re: related document(s)17 Motion to Dismiss Adversary
                  Proceeding filed by ULX Partners, LLC, UnitedLex Corporation) filed by
                  Thomas John McKee Jr. of Greenberg Traurig on behalf of ULX Partners,
                  LLC, UnitedLex Corporation.
  27              Notice of Hearing (Re: related document(s)17 Motion to Dismiss Adversary
                  Proceeding filed by ULX Partners, LLC, UnitedLex Corporation) filed by
                  Thomas John McKee Jr. of Greenberg Traurig on behalf of ULX Partners,
                  LLC, UnitedLex Corporation. Hearing scheduled for 3/25/2021 at 11:00 AM
                  at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                  Virginia.
  28              Certificate of Service of Discovery Documents (Certificate of Service of
                  Plaintiffs Responses to Defendant ULX Partners, LLCs First Set of
                  Interrogatories) filed by Erika L. Morabito of Foley & Lardner on behalf of
                  Lynn L. Tavenner, as Chapter 7 Trustee.
  29              Stipulation by Lynn L. Tavenner, as Trustee, Reflecting Agreed Protective
                  Order with Defendants By Lynn L. Tavenner, as Chapter 7 Trustee and
                  Between ULX Partners, LLC and UnitedLex Corporation filed by Brittany
                  Jane Nelson of Foley & Lardner LLP on behalf of Lynn L. Tavenner, as
                  Chapter 7 Trustee.
  30              Order Continuing Hearing (Re: related document(s)17 Motion to Dismiss
                  Adversary Proceeding filed by ULX Partners, LLC, UnitedLex
                  Corporation, 25 Objection to Motion/Application filed by Lynn L. Tavenner,
                  as Chapter 7 Trustee, 26 Reply to Motion/Application filed by ULX Partners,
                  LLC, UnitedLex Corporation) Hearing scheduled for 4/27/2021 at 01:00 PM at
                  Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                  Virginia.
  32              Proposed Findings of Fact and Conclusions of Law (Re: related
                  document(s)13 Motion for Withdrawal of Reference (fee) filed by ULX
                  Partners, LLC, UnitedLex Corporation, 19 Objection to Motion/Application
                  filed by Lynn L. Tavenner, as Chapter 7 Trustee, 21 Reply to
                  Motion/Application filed by ULX Partners, LLC, UnitedLex Corporation)




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  35              Objection (Re: related document(s)32 Order Directing) filed by Thomas John
                  McKee Jr. of Greenberg Traurig on behalf of ULX Partners, LLC, UnitedLex
                  Corporation. (Attachments: # 1 Exhibit(s) A # 2 Exhibit(s) B # 3 Exhibit(s) C
                  # 4 Exhibit(s) D # 5 Exhibit(s) E # 6 Exhibit(s) F # 7 Exhibit(s) G
                  # 8 Exhibit(s) H)
  36              Certificate of Service of Subpoena (McGladrey /RSM) filed by Brittany Jane
                  Nelson of Foley & Lardner LLP on behalf of Lynn L. Tavenner, as Chapter 7
                  Trustee.
  37              Certificate of Service of Subpoena (Wells Fargo) filed by Brittany Jane Nelson
                  of Foley & Lardner LLP on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.

  38              Certificate of Service of Subpoena (Elliot Davis, LLC) filed by Brittany Jane
                  Nelson of Foley & Lardner LLP on behalf of Lynn L. Tavenner, as Chapter 7
                  Trustee.
  39              Certificate of Service of Subpoena (SB2 Consultants LLC) filed by Brittany
                  Jane Nelson of Foley & Lardner LLP on behalf of Lynn L. Tavenner, as
                  Chapter 7 Trustee.
  40              Certificate of Service of Subpoena (Bruce Green) filed by Brittany Jane
                  Nelson of Foley & Lardner LLP on behalf of Lynn L. Tavenner, as Chapter 7
                  Trustee.
  41              Order Setting Status Conference (Re: related document(s)17 Motion to
                  Dismiss Adversary Proceeding filed by ULX Partners, LLC, UnitedLex
                  Corporation) Hearing scheduled for 4/27/2021 at 01:00 PM at Judge
                  Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
  43              Statement (Trustees Response to Defendants Objection to the Bankruptcy
                  Courts Proposed Findings of Fact and Conclusion of Law) (Re: related
                  document(s)35 Objection filed by ULX Partners, LLC, UnitedLex
                  Corporation) filed by Erika L. Morabito of Foley & Lardner on behalf of Lynn
                  L. Tavenner, as Chapter 7 Trustee.
  44              Transmittal of the Report and Recommendation to the U. S. District Court (Re:
                  related document(s)32 Proposed Findings of Fact and Conclusions of
                  Law, 35 Objection to Proposed Findings of Fact and Conclusions of
                  Law, 43 Statement/ Trustee's Response to Objection to the Bankruptcy Court's
                  Proposed Findings of Fact and Conclusion of Law.
  45              Statement - Designation of Record with Respect to Defendants' Objection to
                  the Bankruptcy Court's Proposed Findings of Fact and Conclusions of Law
                  Regarding Defendants' Motion to Withdraw the Reference (Re: related
                  document(s)32 Order Directing, 35 Objection filed by ULX Partners, LLC,
                  UnitedLex Corporation, 43 Statement filed by Lynn L. Tavenner, as Chapter 7
                  Trustee) filed by David G. Barger of Greenberg Traurig, LLP on behalf of
                  ULX Partners, LLC, UnitedLex Corporation.


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  46              Supplemental Transmittal of of the Report and Recommendation to the U. S.
                  District Court (Re: related document(s)13 Motion for Withdrawal of Reference
                  (fee) filed by ULX Partners, LLC, UnitedLex Corporation) 45 Designation of
                  Record with Respect to Defendants' Objection to the Bankruptcy Court's
                  Proposed Findings of Fact and Conclusions of Law Regarding Defendants'
                  Motion to Withdraw the Reference
  47              Stipulation and Order Lynn L. Tavenner, as Trustee, Reflecting Agreed
                  Protective Order with Defendants. (Re: related document(s)29 Stipulation filed
                  by Lynn L. Tavenner, as Chapter 7 Trustee)
  49              Pre-Trial Order; (Re: related document(s)4 Amended Complaint filed by Lynn
                  L. Tavenner, as Chapter 7 Trustee) Trial set for 10/25/2021 at 10:00 AM
                  Through 11/5/2021 at 10:00 AM at Judge Huennekens' Courtroom, 701 E.
                  Broad St., Rm. 5000, Richmond, Virginia. (Bullock, Nathaniel)
  50              Order Setting Hearing (Re: related document(s)17 Motion to Dismiss
                  Adversary Proceeding filed by ULX Partners, LLC, UnitedLex Corporation)
                  Hearing scheduled for 6/24/2021 at 11:00 AM at Judge Huennekens'
                  Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
  53              Transcript of Hearing Held 6/24/2021.

  55              Motion to Authorize Disclosure of Certain Settlement Materials filed by Erika
                  L. Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7
                  Trustee.
  56              Notice of Motion (Re: related document(s)55 Motion to Authorize filed by
                  Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn
                  Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  57              Memorandum Opinion (Re: related document(s)17 Motion to Dismiss
                  Adversary Proceeding filed by ULX Partners, LLC, UnitedLex
                  Corporation, 25 Objection to Motion/Application filed by Lynn L. Tavenner,
                  as Chapter 7 Trustee, 26 Reply to Motion/Application filed by ULX Partners,
                  LLC, UnitedLex Corporation)
  58              Order Granting in part, Denying in part Motion to Dismiss Adversary
                  Proceeding (Related Doc # 17)
  59              Amended Exhibit A (Re: related document(s)55 Motion to Authorize filed by
                  Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn
                  Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  63              Transcript or Hearing Held 7/22/2021

  64              Stipulation and [Proposed] Order Regarding Answer/Response Deadline By
                  ULX Partners, LLC, UnitedLex Corporation and Between ULX Partners,
                  LLC, UnitedLex Corporation, and Lynn L. Tavenner, as Chapter 7 Trustee
                  filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of ULX
                  Partners, LLC, UnitedLex Corporation.

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       Dkt. No.                                    Description
  66              Motion to Amend Complaint and to Modify Pretrial Scheduling Order (Re:
                  related document(s)1 Complaint filed by Lynn L. Tavenner, as Chapter 7
                  Trustee) filed by Erika L. Morabito of Quinn Emanuel on behalf of Lynn L.
                  Tavenner, as Chapter 7 Trustee. (Attachments: # 1 Exhibit(s))
  67              Notice of Motion and Notice of Hearing (Re: related document(s)66 Motion to
                  Amend filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L.
                  Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7
                  Trustee. Hearing scheduled for 8/19/2021 at 11:00 AM at Judge Huennekens'
                  Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
  68              Motion to File Document(s) Under Seal (Re: related document(s)66 Motion to
                  Amend filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L.
                  Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7
                  Trustee. (Attachments: # 1 Exhibit(s))
  69              Notice of Motion and Notice of Hearing (Re: related document(s)68 Motion to
                  File Documents(s) Under Seal filed by Lynn L. Tavenner, as Chapter 7
                  Trustee) filed by Erika L. Morabito of Quinn Emanuel on behalf of Lynn L.
                  Tavenner, as Chapter 7 Trustee. Hearing scheduled for 8/19/2021 at 11:00 AM
                  at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                  Virginia.
  70              Sealed Motion/Application (Related Document(s)66 Motion to Amend filed by
                  Lynn L. Tavenner, as Chapter 7 Trustee, 68 Motion to File Documents(s)
                  Under Seal filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L.
                  Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7
                  Trustee. (Attachments: # 1 Exhibit(s)).
  71              Agreed Stipulation and Order Regarding Answer/Response Deadline Between
                  ULX Partners, LLC, UnitedLex Corporation, and Lynn L. Tavenner, as
                  Chapter 7 Trustee (Re: related document(s)64 Stipulation filed by ULX
                  Partners, LLC, UnitedLex Corporation).
  73              Corrected Motion to Amend Complaint and to Modify Pretrial Scheduling
                  Order (Re: related document(s)66 Motion to Amend filed by Lynn L.
                  Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel
                  on behalf of Lynn L. Tavenner, as Chapter 7 Trustee. (Attachments:
                  # 1 Exhibit(s)).
  74              Sealed Motion/Application(Re: related document(s)70 Sealed Document filed
                  by Lynn L. Tavenner, as Chapter 7 Trustee, 73 Motion to Amend filed by
                  Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn
                  Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee. (Attachments:
                  # 1 Exhibit(s)).
  75              Objection to (Re: related document(s)66 Motion to Amend filed by Lynn L.
                  Tavenner, as Chapter 7 Trustee) filed by Thomas John McKee Jr. of
                  Greenberg Traurig on behalf of ULX Partners, LLC, UnitedLex Corporation.



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       Dkt. No.                                   Description
  76              Motion to File Document(s) Under Seal (Re: related document(s)75 Objection
                  to Motion/Application filed by ULX Partners, LLC, UnitedLex Corporation)
                  filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of ULX
                  Partners, LLC, UnitedLex Corporation. (Attachments: # 1 Proposed Order).
  77              Notice of Hearing (Re: related document(s)76 Motion to File Documents(s)
                  Under Seal filed by ULX Partners, LLC, UnitedLex Corporation) filed by
                  Thomas John McKee Jr. of Greenberg Traurig on behalf of ULX Partners,
                  LLC, UnitedLex Corporation. Hearing scheduled for 8/19/2021 at 11:00 AM
                  at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                  Virginia.
  78              Sealed Objection(Re: related document(s)75 Objection to Motion/Application
                  filed by ULX Partners, LLC, UnitedLex Corporation) filed by Thomas John
                  McKee Jr. of Greenberg Traurig on behalf of ULX Partners, LLC, UnitedLex
                  Corporation.
  82              Order Granting Motion to File Document(s) Under Seal (Related Doc # 68).

  84              Order Granting Motion to Allow Disclosure of Settlement Materials and to
                  Establish Procedures for the Preservation of Privilege. (Related Doc # 55).

  85              Order Granting Motion to for Leave to Amend Complaint and to Modify Pre-
                  Trial Scheduling Order. (Related Doc # 73).
  86              Amended Complaint against ULX Manager LLC, Gary LeClair, ULX
                  Partners, LLC, UnitedLex Corporation (Re: related document(s)1 Complaint
                  filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of
                  Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4
                  # 5 Exhibit 5).
  87              Motion to Dismiss Adversary Proceeding / Partially Dismiss the First
                  Amended Complaint (Re: related document(s)86 Amended Complaint filed by
                  Lynn L. Tavenner, as Chapter 7 Trustee) filed by Thomas John McKee Jr. of
                  Greenberg Traurig on behalf of ULX Manager LLC, ULX Partners, LLC,
                  UnitedLex Corporation. (Attachments: # 1 Proposed Order).
  88              Memorandum of Law in Support (Re: related document(s)87 Motion to
                  Dismiss Adversary Proceeding filed by ULX Partners, LLC, UnitedLex
                  Corporation, ULX Manager LLC) filed by Thomas John McKee Jr. of
                  Greenberg Traurig on behalf of ULX Manager LLC, ULX Partners, LLC,
                  UnitedLex Corporation. (Attachments: # 1 Exhibit(s) A # 2 Exhibit(s) B
                  # 3 Exhibit(s) C # 4 Exhibit(s) D # 5 Exhibit(s) E)(McKee, Thomas)
  89              Answer to Complaint (Related Doc #86) filed by Thomas John McKee Jr. of
                  Greenberg Traurig on behalf of ULX Manager LLC, ULX Partners, LLC,
                  UnitedLex Corporation.



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       Dkt. No.                                   Description
  90              Summons and Notice of Pre-Trial Conference. Summons Issued to Gary
                  LeClair Answer Due 9/27/2021; ULX Manager LLC Answer Due 9/27/2021;
                  ULX Partners, LLC Answer Due 9/27/2021; UnitedLex Corporation Answer
                  Due 9/27/2021 (Re: related document(s)86 Amended Complaint filed by Lynn
                  L. Tavenner, as Chapter 7 Trustee) Pre-Trial Conference set for 9/8/2021 at
                  01:00 PM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
                  Richmond, Virginia.
  91              Order Scheduling Pre-Trial Conference (Re: related document(s)86 Amended
                  Complaint filed by Lynn L. Tavenner, as Chapter 7 Trustee) Pre-Trial
                  Conference scheduled for 9/8/2021 at 01:00 PM at Judge Huennekens'
                  Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
  92              Transcript of Hearing Held 8/19/2021.
  93              Supplemental Order (Re: related document(s)82 Order on Motion to File
                  Document(s) Under Seal).
  99              Transcript of Hearing Held 9/8/2021.

  100             Third Stipulation and Amended Pre-Trial Order; (Re: related
                  document(s)49 Pre-Trial Order, 86 Amended Complaint filed by Lynn L.
                  Tavenner, as Chapter 7 Trustee) Trial set for 4/18/2022 at 10:00 AM Through
                  4/29/2022 at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
                  Richmond, Virginia. Hearing on Motion to Dismiss set for 10/19, 2021 at
                  11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
                  Richmond, Virginia.
  104             Motion to Dismiss Pleading (Re: related document(s)86 Amended Complaint
                  filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed by Andrew M. Bowman
                  of Gentry Locke on behalf of Gary LeClair.
  105             Memorandum of Points and Authorities in Support of Gary D. LeClair's
                  Motion to Dismiss (Re: related document(s)104 Motion to Dismiss Pleading
                  filed by Gary LeClair) filed by Andrew M. Bowman of Gentry Locke on
                  behalf of Gary LeClair. (Attachments: # 1 Exhibit(s) 1 # 2 2 # 3 Exhibit(s) 3
                  # 4 4 # 5 Exhibit(s) 5 # 6 Exhibit(s) 6 # 7 Exhibit(s) 7 # 8 Exhibit(s) 8
                  # 9 Exhibit(s) 9).
  106             Omnibus Opposition Brief to the Motions to Dismiss the First Amended
                  Complaint Filed by ULX Partners, LLC, ULX Manager, UnitedLex Corp., and
                  Gary LeClair (Re: related document(s)87 Motion to Dismiss Adversary
                  Proceeding filed by ULX Partners, LLC, UnitedLex Corporation, ULX
                  Manager LLC, 104 Motion to Dismiss Pleading filed by Gary LeClair) filed by
                  Erika L. Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as
                  Chapter 7 Trustee. (Attachments: # 1 Exhibit 1).




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  108           Defendant's Reply to Trustee's Opposition Brief (Re: related
                document(s)104 Motion to Dismiss Pleading filed by Gary LeClair) filed by
                Andrew M. Bowman of Gentry Locke on behalf of Gary LeClair.
                (Attachments: # 1 Exhibit(s) 1).
  109           Reply to Trustee's Omnibus Opposition Brief (Re: related
                document(s)87 Motion to Dismiss Adversary Proceeding filed by ULX
                Partners, LLC, UnitedLex Corporation, ULX Manager LLC) filed by Thomas
                John McKee Jr. of Greenberg Traurig on behalf of ULX Manager LLC, ULX
                Partners, LLC, UnitedLex Corporation.
  111           Motion to Amend (Re: related document(s)47 Stipulation and Order, 84 Order
                on Motion to Authorize) filed by Andrew M. Bowman of Gentry Locke on
                behalf of Gary LeClair. (Attachments: # 1 Proposed Order Exhibit 1
                # 2 Proposed Order Exhibit 2).
  112           Transcript of Hearing Held 10/19/2021

  114           Memorandum Opinion (Re: related document(s)87 Motion to Dismiss
                Adversary Proceeding filed by ULX Partners, LLC, UnitedLex Corporation,
                ULX Manager LLC, 104 Motion to Dismiss Pleading filed by Gary
                LeClair, 106 Opposition Brief filed by Lynn L. Tavenner, as Chapter 7
                Trustee, 108 Reply to Motion/Application filed by Gary LeClair, 109 Reply to
                Motion/Application filed by ULX Partners, LLC, UnitedLex Corporation,
                ULX Manager LLC).
  115           Order Denying Motion to Dismiss Adversary Proceeding (Related Doc # 87),
                Denying Motion to Dismiss Pleading (Related Doc # 104).
  117           Answer to Complaint (Related Doc #86), Counterclaim against Lynn L.
                Tavenner, as Chapter 7 Trustee filed by Andrew M. Bowman of Gentry Locke
                on behalf of Gary LeClair.
  118           Answer to Complaint (Related Doc #86) filed by Thomas John McKee Jr. of
                Greenberg Traurig on behalf of ULX Manager LLC, ULX Partners, LLC,
                UnitedLex Corporation.
  119           Motion to Approve Compromise under FRBP 9019 filed by Erika L. Morabito
                of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
                (Attachments: # 1 Exhibit(s)).
  120           Notice of Motion and Notice of Hearing (Re: related document(s)119 Motion
                to Approve filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L.
                Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel
                on behalf of Lynn L. Tavenner, as Chapter 7 Trustee. Hearing scheduled for
                11/29/2021 at 01:00 PM at Judge Huennekens' Courtroom, 701 E. Broad St.,
                Rm. 5000, Richmond, Virginia.
  121           Order Granting Motion to Approve Settlement (Related Doc # 119).




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     Dkt. No.                                     Description
  127           Order Setting Hearing (Re: related document(s)100 Pre-Trial Order) Hearing
                scheduled for 1/14/2022 at 02:00 PM at Judge Huennekens' Courtroom, 701 E.
                Broad St., Rm. 5000, Richmond, Virginia.
  129           Order Concerning Deposition (Re: related document(s)127 Order
                Continuing/Rescheduling/Setting Hearing).
  130           Joint Stipulation for Dismissal of Defendant Gary LeClair By Lynn L.
                Tavenner, as Chapter 7 Trustee and Between filed by Brittany Jane Nelson of
                Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  131           Transcript of Hearing Held 1/14/2022.

  133           Motion for Summary Judgment filed by Thomas John McKee Jr. of Greenberg
                Traurig on behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex
                Corporation.
  134           Notice of Hearing (Re: related document(s)133 Motion for Summary
                Judgment filed by ULX Partners, LLC, UnitedLex Corporation, ULX Manager
                LLC) filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of
                ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation. Hearing
                scheduled for 2/17/2022 at 11:00 AM at Judge Huennekens' Courtroom, 701
                E. Broad St., Rm. 5000, Richmond, Virginia.
  135           Motion to File Document(s) Under Seal (Re: related document(s)133 Motion
                for Summary Judgment filed by ULX Partners, LLC, UnitedLex Corporation,
                ULX Manager LLC) filed by Thomas John McKee Jr. of Greenberg Traurig
                on behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                (Attachments: # 1 Proposed Order).
  136           Notice of Hearing (Re: related document(s)135 Motion to File Documents(s)
                Under Seal filed by ULX Partners, LLC, UnitedLex Corporation, ULX
                Manager LLC) filed by Thomas John McKee Jr. of Greenberg Traurig on
                behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                Hearing scheduled for 2/17/2022 at 11:00 AM at Judge Huennekens'
                Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.




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     Dkt. No.                                      Description
  137           Sealed Motion/Application(Re: related document(s)133 Motion for Summary
                Judgment filed by ULX Partners, LLC, UnitedLex Corporation, ULX Manager
                LLC) filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of
                ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                (Attachments: # 1 Statement of Undisputed Material Facts # 2 Deposition Tabs
                # 3 Exhibit(s) 1 # 4 Exhibit(s) 2 # 5 Exhibit(s) 3 # 6 Exhibit(s) 4 # 7 Exhibit(s)
                5 # 8 Exhibit(s) 6 # 9 Exhibit(s) 7 # 10 Exhibit(s) 8 # 11 Exhibit(s) 9
                # 12 Exhibit(s) 10 # 13 Exhibit(s) 11 # 14 Exhibit(s) 12 # 15 Exhibit(s) 13
                # 16 Exhibit(s) 14 # 17 Exhibit(s) 15 # 18 Exhibit(s) 16 # 19 Exhibit(s) 17
                # 20 Exhibit(s) 18 # 21 Exhibit(s) 19 # 22 Exhibit(s) 20 # 23 Exhibit(s) 21
                # 24 Exhibit(s) 22 # 25 Exhibit(s) 23 # 26 Exhibit(s) 24 # 27 Exhibit(s) 25
                # 28 Exhibit(s) 26 # 29 Exhibit(s) 27 # 30 Exhibit(s) 28 # 31 Exhibit(s) 29
                # 32 Exhibit(s) 30 # 33 Exhibit(s) 31 # 34 Exhibit(s) 32 # 35 Exhibit(s) 33
                # 36 Exhibit(s) 34 # 37 Exhibit(s) 35 # 38 Exhibit(s) 36 # 39 Exhibit(s) 37
                # 40 Exhibit(s) 38 # 41 Exhibit(s) 39 # 42 Exhibit(s) 40 # 43 Exhibit(s) 41
                # 44 Exhibit(s) 42 # 45 Exhibit(s) 43 # 46 Exhibit(s) 44 # 47 Exhibit(s) 45
                # 48 Exhibit(s) 46 # 49 Exhibit(s) 47 # 50 Exhibit(s) 48 # 51 Exhibit(s) 49
                # 52 Exhibit(s) 50 # 53 Exhibit(s) 51 # 54 Exhibit(s) 52 # 55 Exhibit(s) 53
                # 56 Exhibit(s) 54 # 57 Exhibit(s) 55 # 58 Exhibit(s) 56 # 59 Exhibit(s) 57
                # 60 Exhibit(s) 58 # 61 Exhibit(s) 59 # 62 Exhibit(s) 60)


  138           Amended Notice of Hearing (Re: related document(s)133 Motion for
                Summary Judgment filed by ULX Partners, LLC, UnitedLex Corporation,
                ULX Manager LLC) filed by Thomas John McKee Jr. of Greenberg Traurig
                on behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                Hearing scheduled for 2/17/2022 at 01:00 PM at Judge Huennekens'
                Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
  139           Amended Notice of Hearing (Re: related document(s)135 Motion to File
                Documents(s) Under Seal filed by ULX Partners, LLC, UnitedLex
                Corporation, ULX Manager LLC) filed by Thomas John McKee Jr. of
                Greenberg Traurig on behalf of ULX Manager LLC, ULX Partners, LLC,
                UnitedLex Corporation. Hearing scheduled for 2/17/2022 at 01:00 PM at
                Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                Virginia.
  140           Order Setting Hearing (Re: related document(s)100 Pre-Trial Order) Hearing
                scheduled for 2/4/2022 at 10:00 AM at Judge Huennekens' Courtroom, 701 E.
                Broad St., Rm. 5000, Richmond, Virginia.
  142           Order Appointing Honorable Frank J. Santoro as Judicial Mediator




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     Dkt. No.                                    Description
  144           Fourth Stipulation and Amended Pre-Trial Order; (Re: related
                document(s)100 Pre-Trial Order) Trial set for 4/18/2022 through 4/29/2022 at
                10:00 AM at Judge Huennekens', 701 E. Broad St., Rm. 5000, Richmond,
                Virginia. A hearing on any dispositive Motions including summary judgment
                motions shall be held on March 15, 2022 at 11:00 a.m. at Judge Huennekens',
                701 E. Broad St., Rm. 5000, Richmond, Virginia A hearing on the motion to
                amend shall be March 8, 2022 at 11:00 a.m. at Judge Huennekens', 701 E.
                Broad St., Rm. 5000, Richmond, Virginia
  145           Transcript of Hearing Held 2/4/2022.

  147           Motion to Amend First Amended Complaint (Re: related
                document(s)86 Amended Complaint filed by Lynn L. Tavenner, as Chapter 7
                Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito
                of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
                (Attachments: # 1 Exhibit A).
  148           Notice of Hearing (Re: related document(s)147 Motion to Amend filed by
                Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7
                Trustee) filed by Erika L. Morabito of Quinn Emanuel on behalf of Lynn L.
                Tavenner, as Chapter 7 Trustee. Hearing scheduled for 3/8/2022 at 11:00 AM
                at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                Virginia.
  149           Sealed Motion/Application(Re: related document(s)147 Motion to Amend
                filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as
                Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel on behalf of
                Lynn L. Tavenner, as Chapter 7 Trustee. (Attachments: # 1 Exhibit A)
  150           Sealed Answer/Response/Reply(Re: related document(s)137 Sealed Document
                filed by ULX Partners, LLC, UnitedLex Corporation, ULX Manager LLC)
                filed by Erika L. Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner,
                as Chapter 7 Trustee.
  152           Corrected Sealed Answer/Response/Reply(Re: related document(s)137 Sealed
                Document filed by ULX Partners, LLC, UnitedLex Corporation, ULX
                Manager LLC, 150 Sealed Document filed by Lynn L. Tavenner, as Chapter 7
                Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito
                of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  153           Sealed Exhibit(Re: related document(s)152 Sealed Document filed by Lynn L.
                Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed
                by Erika L. Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as
                Chapter 7 Trustee.




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     Dkt. No.                                    Description
  154           Motion to File Document(s) Under Seal (Re: related document(s)150 Sealed
                Document filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L.
                Tavenner, as Chapter 7 Trustee, 152 Sealed Document filed by Lynn L.
                Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7
                Trustee, 153 Sealed Document filed by Lynn L. Tavenner, as Chapter 7
                Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito
                of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  155           Notice of Hearing (Re: related document(s)154 Motion to File Documents(s)
                Under Seal filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L.
                Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel
                on behalf of Lynn L. Tavenner, as Chapter 7 Trustee. Hearing scheduled for
                3/15/2022 at 11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St.,
                Rm. 5000, Richmond, Virginia.
  156           Sealed Answer/Response/Reply(Re: related document(s)133 Motion for
                Summary Judgment filed by ULX Partners, LLC, UnitedLex Corporation,
                ULX Manager LLC) filed by Thomas John McKee Jr. of Greenberg Traurig
                on behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                (Attachments: # 1 Exhibit(s) A # 2 Exhibit(s) B # 3 Exhibit(s) C # 4 Exhibit(s)
                D # 5 Exhibit(s) E # 6 Exhibit(s) F # 7 Exhibit(s) G # 8 Exhibit(s) H
                # 9 Exhibit(s) I # 10 Exhibit(s) J # 11 Exhibit(s) K # 12 Exhibit(s) L
                # 13 Exhibit(s) M).
  157           Motion to File Document(s) Under Seal (Re: related document(s)156 Sealed
                Document filed by ULX Partners, LLC, UnitedLex Corporation, ULX
                Manager LLC) filed by Thomas John McKee Jr. of Greenberg Traurig on
                behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                (Attachments: # 1 Proposed Order).
  158           Notice of Hearing (Re: related document(s)157 Motion to File Documents(s)
                Under Seal filed by ULX Partners, LLC, UnitedLex Corporation, ULX
                Manager LLC) filed by Thomas John McKee Jr. of Greenberg Traurig on
                behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                Hearing scheduled for 3/15/2022 at 11:00 AM at Judge Huennekens'
                Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
  159           Notice of Motion and Notice of Hearing (Re: related document(s)147 Motion
                to Amend filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner,
                as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel on behalf
                of Lynn L. Tavenner, as Chapter 7 Trustee. Hearing scheduled for 3/8/2022 at
                11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
                Richmond, Virginia.




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     Dkt. No.                                     Description
  160           Motion to File Document(s) Under Seal (Re: related document(s)147 Motion
                to Amend filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner,
                as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel on behalf
                of Lynn L. Tavenner, as Chapter 7 Trustee. (Attachments: # 1 Exhibit A
                # 2 Exhibit B).
  161           Notice of Motion and Notice of Hearing (Re: related document(s)160 Motion
                to File Documents(s) Under Seal filed by Lynn L. Tavenner, as Chapter 7
                Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito
                of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
                Hearing scheduled for 3/8/2022 at 11:00 AM at Judge Huennekens'
                Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
  162           Mediation Order (Re: related document(s)142 Order Appointing).

  166           Transcript of Hearing Held 2/17/2022.

  168           Response to (Re: related document(s)147 Motion to Amend filed by Lynn L.
                Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed
                by Thomas John McKee Jr. of Greenberg Traurig on behalf of ULX Manager
                LLC, ULX Partners, LLC, UnitedLex Corporation. (Attachments:
                # 1 Exhibit(s) A # 2 Exhibit(s) B # 3 Exhibit(s) C # 4 Exhibit(s) D
                # 5 Exhibit(s) E # 6 Exhibit(s) F # 7 Exhibit(s) G # 8 Exhibit(s) H
                # 9 Exhibit(s) I # 10 Exhibit(s) J # 11 Exhibit(s) K # 12 Exhibit(s) L
                # 13 Exhibit(s) M).
  169           Sealed Answer/Response/Reply(Re: related document(s)147 Motion to Amend
                filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as
                Chapter 7 Trustee) filed by Thomas John McKee Jr. of Greenberg Traurig on
                behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                (Attachments: # 1 Exhibit(s) A # 2 Exhibit(s) B # 3 Exhibit(s) C # 4 Exhibit(s)
                D # 5 Exhibit(s) E # 6 Exhibit(s) F # 7 Exhibit(s) G # 8 Exhibit(s) H
                # 9 Exhibit(s) I # 10 Exhibit(s) J # 11 Exhibit(s) K # 12 Exhibit(s) L
                # 13 Exhibit(s) M).
  170           Motion to File Document(s) Under Seal (Re: related document(s)169 Sealed
                Document filed by ULX Partners, LLC, UnitedLex Corporation, ULX
                Manager LLC) filed by Thomas John McKee Jr. of Greenberg Traurig on
                behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                (Attachments: # 1 Proposed Order).
  171           Notice of Hearing (Re: related document(s)170 Motion to File Documents(s)
                Under Seal filed by ULX Partners, LLC, UnitedLex Corporation, ULX
                Manager LLC) filed by Thomas John McKee Jr. of Greenberg Traurig on
                behalf of ULX Manager LLC, ULX Partners, LLC, UnitedLex Corporation.
                Hearing scheduled for 3/8/2022 at 11:00 AM at Judge Huennekens'
                Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.


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     Dkt. No.                                      Description
  172           Sealed Exhibit(Re: related document(s)152 Sealed Document filed by Lynn L.
                Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7
                Trustee, 153 Sealed Document filed by Lynn L. Tavenner, as Chapter 7
                Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed by Brittany Jane
                Nelson of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7
                Trustee. (Attachments: # 1 Transcript Exhibits # 2 Exhibit(s) 1-6 # 3 Exhibit(s)
                7-17 # 4 Exhibit(s) 18-34 # 5 Exhibit(s) 35-38 # 6 Exhibit(s) 39-40
                # 7 Exhibit(s) 41 - Part 1 # 8 Exhibit(s) 41 - Part 2 # 9 Exhibit(s) 42-45
                # 10 Exhibit(s) 46-47 # 11 Exhibit(s) 48-50 # 12 Exhibit(s) 51 - Part 1
                # 13 Exhibit(s) 51 - Part 2 # 14 Exhibit(s) 51 - Part 3 # 15 Exhibit(s) 51 - Part
                4 # 16 Exhibit(s) 52-56 # 17 Exhibit(s) 57-63 # 18 Exhibit(s) 64-70
                # 19 Exhibit(s) 71 - Part 1 # 20 Exhibit(s) 71 - Part 2 # 21 Exhibit(s) 71 - Part
                3 # 22 Exhibit(s) 71 - Part 4 # 23 Exhibit(s) 72-77 # 24 Exhibit(s) 78-86
                # 25 Exhibit(s) 87-99 # 26 Exhibit(s) 100-103 # 27 Exhibit(s) 104
                # 28 Exhibit(s) 105-107 # 29 Exhibit(s) 108 # 30 Exhibit(s) 109-111
                # 31 Exhibit(s) 112-119 # 32 Exhibit(s) 120-123 # 33 Exhibit(s) 124-130
                # 34 Exhibit(s) 131-133 # 35 Exhibit(s) 134-137 # 36 Exhibit(s) 138
                # 37 Exhibit(s) 139 - Part 1 # 38 Exhibit(s) 139 - Part 2 # 39 Exhibit(s) 139 -
                Part 3 # 40 Exhibit(s) 140)
  173           Sealed Answer/Response/Reply(Re: related document(s)147 Motion to Amend
                filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as
                Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel on behalf of
                Lynn L. Tavenner, as Chapter 7 Trustee.
  174           Reply to Motion to Amend First Amended Complaint (Re: related
                document(s)173 Sealed Document filed by Lynn L. Tavenner, as Chapter 7
                Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito
                of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
                (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4
                # 5 Exhibit 5 # 6 Exhibit 6 # 7 Tab A # 8 Tab C).
  175           Sealed Exhibit(Re: related document(s)168 Response to Motion/Application
                filed by ULX Partners, LLC, UnitedLex Corporation, ULX Manager LLC)
                filed by Erika L. Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner,
                as Chapter 7 Trustee.
  176           Statement - Proposed Agenda for March 8, 2022 Hearing filed by Paula S.
                Beran of Tavenner & Beran, PLC on behalf of Lynn L. Tavenner, as Chapter 7
                Trustee.
  177           Order Directing Defendants to Produce Insurance-Related Information. (Re:
                related document(s)142 Order Appointing, 162 Order Directing)

  178           Order Directing the Exchange of Information Between the Defendants,
                Nicholas Hinton, Daniel Reed, The Insurance Companies and the Chapter 7
                Trustee. (Re: related document(s)142 Order Appointing, 162 Order Directing).



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     Dkt. No.                                    Description
  182           Supplemental Order Appointing Mediator (Re: related document(s)142 Order
                Appointing).
  183           Fifth Amended Pre-Trial Order; (Re: related document(s)4 Amended
                Complaint filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L.
                Tavenner, as Chapter 7 Trustee, 144 Pre-Trial Order) Trial set for 5/16/2022
                through 5/27, 2022 at 10:00 AM at Judge Huennekens' Courtroom, 701 E.
                Broad St., Rm. 5000, Richmond, Virginia.
  184           Order Continuing Hearings (Re: related document(s)147 Motion to Amend
                filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as
                Chapter 7 Trustee, 160 Motion to File Documents(s) Under Seal filed by Lynn
                L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7
                Trustee, 170 Motion to File Documents(s) Under Seal filed by ULX Partners,
                LLC, UnitedLex Corporation, ULX Manager LLC) Hearing scheduled for
                4/19/2022 at 11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St.,
                Rm. 5000, Richmond, Virginia.(Re: related document(s) 133 Motion for
                Summary Judgment filed by Thomas John McKee Jr. of Greenberg
                Traurig, 135 Motion to File Document(s) Under Seal filed by Thomas
                McKee, 154 Motion to File Document(s) Under Seal filed by Erika
                Morabito, 157 Motion to File Document(s) Under Seal filed by Thomas
                Mckee) Hearing scheduled for 4/28/2022 at 11:00 AM at Judge Huennekens'
                Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
  189           Statement regarding Notice of Filed Declarations filed by Thomas John
                McKee Jr. of Greenberg Traurig on behalf of ULX Manager LLC, ULX
                Partners, LLC, UnitedLex Corporation.
  190           Sixth Amended Pre-Trial Order; (Re: related document(s)183 Pre-Trial Order)
                Trial set for 5/16/2022 through 5/27, 2022 at 10:00 AM at Judge Huennekens'
                Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. (Bullock,
                Nathaniel) (Bullock, Nathaniel). Related document(s) 4 Amended Complaint
                filed by Counter-Defendant Lynn L. Tavenner, as Chapter 7 Trustee, Plaintiff
                Lynn L. Tavenner, as Chapter 7 Trustee. Modified on 3/24/2022 to add related
                document to docket entry.
  193           Transcript of Hearing Held 3/8/2022.

  195           Mediation Order Regarding Confidentiality (Re: related document(s)142 Order
                Appointing, 162 Order Directing) (Ramirez-Lowe, Suzan)
  200           Transcript of Hearing Held 4/19/2022.

  201           Consent Motion to Continue April 28th Hearing and to Stay Remaining
                Deadlines in the Court's Sixth Stipulation and Amended Pre-Trial Order (Re:
                related document(s)190 Pre-Trial Order) filed by Thomas John McKee Jr. of
                Greenberg Traurig on behalf of ULX Manager LLC, ULX Partners, LLC,
                UnitedLex Corporation. (Attachments: # 1 Exhibit(s) A - Proposed Order).


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     Dkt. No.                                  Description
  202           Consent Order Granting Motion to Continue April 28th Hearing and to Stay
                Remaining Deadlines in the Court's Sixth Stipulation and Amended Pre-Trial
                Order (Related Doc # 201) Hearing scheduled for 5/25/2022 at 11:00 AM at
                Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                Virginia.
  207           Motion to Restrict Public Access to Sensitive Case Information - Motion to
                Seal Settlement Agreement and Related Documents, Information, and
                Hearings [Redacted document attached](Re: related
                document(s)200 Transcript filed) filed by David G. Barger of Greenberg
                Traurig, LLP on behalf of ULX Manager LLC, ULX Partners, LLC,
                UnitedLex Corporation. (Attachments: # 1 Exhibit(s) A - Proposed Order
                # 2 Exhibit(s) B - Redacted Transcript).
  208           Notice of Hearing (Re: related document(s)207 Motion to Restrict Public
                Access to Sensitive Case Information filed by ULX Partners, LLC, UnitedLex
                Corporation, ULX Manager LLC) filed by David G. Barger of Greenberg
                Traurig, LLP on behalf of ULX Manager LLC, ULX Partners, LLC,
                UnitedLex Corporation. Hearing scheduled for 5/25/2022 at 11:00 AM at
                Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                Virginia.
  210           Unopposed Bridge Order Restricting Public Access (Re: related
                document(s)200 Transcript filed, 207 Motion to Restrict Public Access to
                Sensitive Case Information filed by ULX Partners, LLC, UnitedLex
                Corporation, ULX Manager LLC).
  211           Sealed Motion/Application(Re: related document(s)207 Motion to Restrict
                Public Access to Sensitive Case Information filed by ULX Partners, LLC,
                UnitedLex Corporation, ULX Manager LLC) filed by Erika L. Morabito of
                Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
                (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D).
  212           Notice of Motion and Notice of Hearing (Re: related document(s)211 Sealed
                Document filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L.
                Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel
                on behalf of Lynn L. Tavenner, as Chapter 7 Trustee. Hearing scheduled for
                6/8/2022 at 1:00 PM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm.
                5000, Richmond, Virginia. (Morabito, Erika) Modified on 5/19/2022 to correct
                hearing time to 1:00 PM .
  215           Objection to Motion to Seal Settlement Agreement and Related Documents,
                Information, and Hearings (Re: related document(s)207 Motion to Restrict
                Public Access to Sensitive Case Information filed by ULX Partners, LLC,
                UnitedLex Corporation, ULX Manager LLC) filed by Kathryn R. Montgomery
                of Office of the United States Trustee on behalf of John P. Fitzgerald III.




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     Dkt. No.                                    Description
  216           Objection to Trustee's Motion for Sealed Document (Re: related
                document(s)211 Sealed Document filed by Lynn L. Tavenner, as Chapter 7
                Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed by Kathryn R.
                Montgomery of Office of the United States Trustee on behalf of John P.
                Fitzgerald III.
  217           Motion for Status Hearing and A Scheduling Order, Notice of Motion and
                Notice of Hearing (Re: related document(s)211 Sealed Document filed by
                Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7
                Trustee) Hearing scheduled for 5/25/2022 at 11:00 AM at Judge Huennekens'
                Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. Filed by
                Kathryn R. Montgomery of Office of the United States Trustee on behalf of
                John P. Fitzgerald III.
  218           Motion to Expedite Hearing with Proposed Order and Notice of Hearing (Re:
                related document(s)217 Motion for Status Hearing filed by John P. Fitzgerald,
                Notice of Motion and Notice of Hearing) filed by Kathryn R. Montgomery of
                Office of the United States Trustee on behalf of John P. Fitzgerald III. Hearing
                scheduled for 5/25/2022 at 11:00 AM at Judge Huennekens' Courtroom, 701
                E. Broad St., Rm. 5000, Richmond, Virginia.
  219           Objection to (Re: related document(s)217 Motion for Status Hearing filed by
                John P. Fitzgerald) filed by Erika L. Morabito of Quinn Emanuel on behalf of
                Lynn L. Tavenner, as Chapter 7 Trustee.
  224           Order Continuing Hearing (Re: related document(s)147 Motion to Amend
                filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as
                Chapter 7 Trustee, 160 Motion to File Documents(s) Under Seal filed by Lynn
                L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7
                Trustee, 170 Motion to File Documents(s) Under Seal filed by ULX Partners,
                LLC, UnitedLex Corporation, ULX Manager LLC, 207 Motion to Restrict
                Public Access to Sensitive Case Information filed by ULX Partners, LLC,
                UnitedLex Corporation, ULX Manager LLC) Hearing scheduled for 5/26/2022
                at 12:00 PM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
                Richmond, Virginia.
  233           Order Continuing Hearing (Re: related document(s)217 Motion for Status
                Hearing filed by John P. Fitzgerald, Notice of Motion and Notice of Hearing)
                Hearing scheduled for 6/1/2022 at 01:00 PM at Judge Huennekens' Courtroom,
                701 E. Broad St., Rm. 5000, Richmond, Virginia.
  234           Transcript of Hearing Held 5/25/2022.

  235           Transcript of Hearing Held 5/25/2022.

  236           Transcript of Hearing Held 5/26/2022.




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     Dkt. No.                                  Description
  237           Statement - NOTICE OF CANCELLATION OF HEARING SCHEDULED
                FOR JUNE 1, 2022 at 1:00 P.M. (Re: related document(s)233 Order
                Continuing/Rescheduling/Setting Hearing) filed by Paula S. Beran of
                Tavenner & Beran, PLC on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  238           Motion to File Document(s) Under Seal (Foley & Lardner LLPs Motion
                Requesting Authorization to Seal Its Limited Objection to the Trustees Motion
                and Memorandum of Law for Entry of an Order (I) Approving (A) Judicially
                Mediated Settlement and (B) Compensation to Counsel Including an
                Improvident Payment Under Section 328(a); and (II) Granting Related
                Relief) filed by Susan Poll Klaessy of Foley & Lardner LLP on behalf of Foley
                & Lardner LLP.
  239           Notice of Motion and Hearing Thereon (Re: related document(s)238 Motion to
                File Documents(s) Under Seal filed by Foley & Lardner LLP) filed by Susan
                Poll Klaessy of Foley & Lardner LLP on behalf of Foley & Lardner LLP.
  240           Sealed Answer/Response/Reply(Re: related document(s)238 Motion to File
                Documents(s) Under Seal filed by Foley & Lardner LLP) filed by Susan Poll
                Klaessy of Foley & Lardner LLP on behalf of Foley & Lardner LLP.
  241           Corrected Notice of Hearing (Redocketed to including Hearing
                Information) (Re: related document(s)238 Motion to File Documents(s) Under
                Seal filed by Foley & Lardner LLP, 239 Notice of Motion filed by Foley &
                Lardner LLP) filed by Susan Poll Klaessy of Foley & Lardner LLP on behalf
                of Foley & Lardner LLP. Hearing scheduled for 6/8/2022 at 01:00 PM at
                Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                Virginia.
  243           Sealed Objection (Related Document(s)211 Sealed Document filed by Lynn L.
                Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed
                by Kathryn R. Montgomery of Office of the United States Trustee on behalf of
                John P. Fitzgerald III.
  244           Statement (Notice of Objection and Hearing set for 6/8/2022 at 1:00 p.m. (Re:
                related document(s)243 Sealed Document filed by John P. Fitzgerald) filed by
                Kathryn R. Montgomery of Office of the United States Trustee on behalf of
                John P. Fitzgerald III.
  245           Motion to File Document(s) Under Seal and Reservation of Rights, with
                Notice of Motion, and with Notice of Hearing, (Related
                Document(s)211 Sealed Document filed by Lynn L. Tavenner, as Chapter 7
                Trustee, Lynn L. Tavenner, as Chapter 7 Trustee, 243 Sealed Document filed
                by John P. Fitzgerald, 244 Statement filed by John P. Fitzgerald) filed by
                Kathryn R. Montgomery of Office of the United States Trustee on behalf of
                John P. Fitzgerald III. Hearing scheduled for 6/8/2022 at 01:00 PM at Judge
                Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.




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     Dkt. No.                                      Description
  246           Motion to Expedite Hearing with Notice and Proposed Order, and with Notice
                of Hearing, (Related Document(s)245 Motion to File Documents(s) Under
                Seal filed by John P. Fitzgerald) filed by Kathryn R. Montgomery of Office of
                the United States Trustee on behalf of John P. Fitzgerald III. Hearing
                scheduled for 6/8/2022 at 01:00 PM at Judge Huennekens' Courtroom, 701 E.
                Broad St., Rm. 5000, Richmond, Virginia.
  247           Motion to Expedite Hearing (Re: related document(s)238 Motion to File
                Documents(s) Under Seal filed by Foley & Lardner LLP) filed by Susan Poll
                Klaessy of Foley & Lardner LLP on behalf of Foley & Lardner LLP.
  248           Notice of Motion and Notice of Hearing (Re: related document(s)247 Motion
                to Expedite Hearing filed by Foley & Lardner LLP) filed by Susan Poll
                Klaessy of Foley & Lardner LLP on behalf of Foley & Lardner LLP. Hearing
                scheduled for 6/8/2022 at 01:00 PM at Judge Huennekens' Courtroom, 701 E.
                Broad St., Rm. 5000, Richmond, Virginia.
  249           Sealed Certification/Declaration/Statement(Re: related document(s)211 Sealed
                Document filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L.
                Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel
                on behalf of Lynn L. Tavenner, as Chapter 7 Trustee. (Attachments:
                # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit
                6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11
                # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14)
  250           Order to Seal Omnibus Settlement Agreement and Related Documents,
                Information, and Hearings (Related Doc 207) (Bray, Lynessa).

  252           Sealed Answer/Response/Reply(Re: related document(s) 211 Sealed
                Document filed by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L.
                Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn Emanuel
                on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  253           Sealed Notice(Re: related document(s)211 Sealed Document filed by Lynn L.
                Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed
                by David G. Barger of Greenberg Traurig, LLP on behalf of ULX Manager
                LLC, ULX Partners, LLC, UnitedLex Corporation.
  254           Amended Sealed Exhibit(Re: related document(s)211 Sealed Document filed
                by Lynn L. Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7
                Trustee) filed by Erika L. Morabito of Quinn Emanuel on behalf of Lynn L.
                Tavenner, as Chapter 7 Trustee.
  259           Transcript of Hearing Held 6/8/2022.




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     Dkt. No.                                    Description
  265           Motion for Approval of Agreement Re-docketed to file unsealed version with
                redactions (Re: related document(s)211 Sealed Document filed by Lynn L.
                Tavenner, as Chapter 7 Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed
                by Erika L. Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as
                Chapter 7 Trustee.
  266           Statement April 19, 2022 Transcript - Re-docketed to file unsealed version
                with redactions (Re: related document(s)200 Transcript filed) filed by Erika L.
                Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7
                Trustee.
  267           Exhibit A - Re-docketed to file unsealed version with redactions (Re: related
                document(s)147 Motion to Amend filed by Lynn L. Tavenner, as Chapter 7
                Trustee, Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito
                of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  269           Supplemental Sealed Motion/Application(Re: related document(s)207 Motion
                to Restrict Public Access to Sensitive Case Information filed by ULX Partners,
                LLC, UnitedLex Corporation, ULX Manager LLC) filed by David G. Barger
                of Greenberg Traurig, LLP on behalf of ULX Manager LLC, ULX Partners,
                LLC, UnitedLex Corporation. (Attachments: # 1 Exhibit(s) 1 # 2 Exhibit(s)
                Attachment 1 # 3 Exhibit(s) Attachment 2 # 4 Exhibit(s) Attachment 3
                # 5 Exhibit(s) Attachment 4 # 6 Exhibit(s) Attachment 5 # 7 Exhibit(s)
                Attachment 6 # 8 Exhibit(s) Attachment 7 # 9 Exhibit(s) Attachment 8
                # 10 Exhibit(s) Attachment 9).
  270           Sealed Certification/Declaration/Statement(Re: related
                document(s)207 Motion to Restrict Public Access to Sensitive Case
                Information filed by ULX Partners, LLC, UnitedLex Corporation, ULX
                Manager LLC, 269 Sealed Document filed by ULX Partners, LLC, UnitedLex
                Corporation, ULX Manager LLC) filed by David G. Barger of Greenberg
                Traurig, LLP on behalf of ULX Manager LLC, ULX Partners, LLC,
                UnitedLex Corporation.
  272           Transcript of Hearing Held 7/14/2022.

  273           Notice of Appeal Re: Oral Ruling on July 14, 2022, of U.S. Bankruptcy Court
                EDVA Granting Motion to Seal Settlement Agreement & Related Documents,
                Information and Hearings [Order Not Entered on Docket] filed by Kathryn R.
                Montgomery of Office of the United States Trustee on behalf of John P.
                Fitzgerald III. Appellant Designation due by 8/2/2022.
  274           Exhibit 1 (Transcript of Open Court Hearing on July 14, 2022)
  275           Sealed Exhibit (Related Document(s)273 Notice of Appeal filed by John P.
                Fitzgerald)




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                     Tavenner v. CVC Capital Partners, LLC, 21-03095

       Dkt. No.                                   Description
                  Docket Sheet
  1               Complaint against CVC Capital Partners, Daniel Reed, Nicholas Hinton, Josh
                  Rosenfeld, P. Douglas Benson filed by Lynn L. Tavenner, as Chapter 7
                  Trustee.

  4               Summons and notice issued to P. Douglas Benson ; CVC Capital Partners ;
                  Nicholas Hinton ; Daniel Reed ; Josh Rosenfeld (Re: related
                  document(s)1 Complaint filed by Lynn L. Tavenner, as Chapter 7 Trustee).
  7               Motion to Dismiss Adversary Proceeding as to Daniel Reed (Re: related
                  document(s)1 Complaint filed by Lynn L. Tavenner, as Chapter 7 Trustee)
                  filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of Daniel
                  Reed. (Attachments: # 1 Proposed Order).
  8               Memorandum in Support of Daniel Reed's Motion to Dismiss (Re: related
                  document(s)7 Motion to Dismiss Adversary Proceeding filed by Daniel Reed)
                  filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of Daniel
                  Reed. (Attachments: # 1 Exhibit(s) A # 2 Exhibit(s) B # 3 Exhibit(s) C
                  # 4 Exhibit(s) D).
  9               Motion to Dismiss Adversary Proceeding as to Nicholas Hinton (Re: related
                  document(s)1 Complaint filed by Lynn L. Tavenner, as Chapter 7 Trustee)
                  filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of Nicholas
                  Hinton. (Attachments: # 1 Proposed Order).
  10              Memorandum in Support of Nicholas Hinton's Motion to Dismiss (Re: related
                  document(s)9 Motion to Dismiss Adversary Proceeding filed by Nicholas
                  Hinton) filed by Thomas John McKee Jr. of Greenberg Traurig on behalf of
                  Nicholas Hinton.
  11              Inquiry/General Checksheet Issued to Thomas J. McKee, Jr. regarding Motion,
                  Notice of Hearing; Notice of Motion/Hearing omitted.. (Re: related
                  document(s)7 Motion to Dismiss Adversary Proceeding filed by Daniel Reed).
  12              Inquiry/General Checksheet Issued to Thomas J. McKee, Jr. regarding Motion,
                  Notice of Hearing; Notice of Motion/Hearing omitted.. (Re: related
                  document(s)9 Motion to Dismiss Adversary Proceeding filed by Nicholas
                  Hinton).
  13              Notice of Motion (Re: related document(s)7 Motion to Dismiss Adversary
                  Proceeding filed by Daniel Reed) filed by Thomas John McKee Jr. of
                  Greenberg Traurig on behalf of Daniel Reed.



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       Dkt. No.                                     Description
  14              Notice of Motion (Re: related document(s)9 Motion to Dismiss Adversary
                  Proceeding filed by Nicholas Hinton) filed by Thomas John McKee Jr. of
                  Greenberg Traurig on behalf of Nicholas Hinton.
  17              Trustee's Response to (Re: related document(s)7 Motion to Dismiss Adversary
                  Proceeding filed by Daniel Reed, 9 Motion to Dismiss Adversary Proceeding
                  filed by Nicholas Hinton) filed by Brittany Jane Nelson of Quinn Emanuel on
                  behalf of Lynn L. Tavenner, as Chapter 7 Trustee. (Attachments: # 1 Exhibit A
                  # 2 Exhibit B).
  18              Stipulation of Extension to Respond to Complaint By Lynn L. Tavenner, as
                  Chapter 7 Trustee and Between filed by Brittany Jane Nelson of Quinn
                  Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  19              Defendant's Motion for Withdrawal of Reference and Memorandum of Law in
                  Support Thereof filed by Michael E. Hastings of Woods Rogers PLC on behalf
                  of CVC Capital Partners.
  21              Defendant's Motion for Jury Demand [Defendant CVC Advisers (India)
                  Private Limited] filed by Michael E. Hastings of Woods Rogers PLC on behalf
                  of CVC Capital Partners.
  22              Defendant's Motion to Dismiss Adversary Proceeding [CVC Advisers (India)
                  Private Limited filed by Michael E. Hastings of Woods Rogers PLC on behalf
                  of CVC Capital Partners.
  23              Defendant's Motion to Dismiss Adversary Proceeding Memorandum of Law In
                  Support of (Re: related document(s)22 Motion to Dismiss Adversary
                  Proceeding filed by CVC Capital Partners) filed by Michael E. Hastings of
                  Woods Rogers PLC on behalf of CVC Capital Partners.
  24              Defendant's Exhibit Designation of the Record (Re: related
                  document(s)19 Motion for Withdrawal of Reference (fee) filed by CVC
                  Capital Partners) filed by Michael E. Hastings of Woods Rogers PLC on
                  behalf of CVC Capital Partners.
  25              Defendant's Notice of Motion by CVC Advisers (India) Private Limited (Re:
                  related document(s)19 Motion for Withdrawal of Reference (fee) filed by CVC
                  Capital Partners, 21 Jury Demand filed by CVC Capital Partners, 22 Motion to
                  Dismiss Adversary Proceeding filed by CVC Capital Partners, 23 Motion to
                  Dismiss Adversary Proceeding filed by CVC Capital Partners) filed by
                  Michael E. Hastings of Woods Rogers PLC on behalf of CVC Capital
                  Partners.
  26              Defendant's Corporate Ownership Statementby CVC Advisers (India) Private
                  Limited filed by Michael E. Hastings of Woods Rogers PLC on behalf of CVC
                  Capital Partners.
  27              Reply to the Trustee's Response to Motions to Dismiss Filed by Nicholas
                  Hinton and Daniel Reed (Re: related document(s)17 Response to
                  Motion/Application filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed by
                  Thomas John McKee Jr. of Greenberg Traurig on behalf of Nicholas Hinton,
                  Daniel Reed.

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       Dkt. No.                                    Description
  30              Defendant's Memorandum of Law in Support of Defendant CVC's Motion to
                  Dismiss the Complaint (Re: related document(s)22 Motion to Dismiss
                  Adversary Proceeding filed by CVC Capital Partners) filed by Michael E.
                  Hastings of Woods Rogers PLC on behalf of CVC Capital Partners.
  31              Defendant's Designation of Record Regarding Withdrawal of Reference (Re:
                  related document(s)19 Motion for Withdrawal of Reference (fee) filed by CVC
                  Capital Partners) filed by Michael E. Hastings of Woods Rogers PLC on
                  behalf of CVC Capital Partners. Document(s) due by 12/27/2021.
  32              Proposed Stipulation and Order Among CVC Advisers (India) Private Limited
                  and Lynn L Tavenner, as Chapter 7 Trustee By CVC Capital Partners and
                  Between Lynn L. Tavenner, as Chapter 7 Trustee (Re: related
                  document(s)19 Motion for Withdrawal of Reference (fee) filed by CVC
                  Capital Partners, 21 Jury Demand filed by CVC Capital Partners, 22 Motion to
                  Dismiss Adversary Proceeding filed by CVC Capital Partners) filed by
                  Michael E. Hastings of Woods Rogers PLC on behalf of CVC Capital
                  Partners.
  33              Stipulation and Order (Re: related document(s)32 Stipulation filed by CVC
                  Capital Partners).
  36              Defendant's Motion to Dismiss Adversary Proceeding as to P. Douglas
                  Benson (Re: related document(s)1 Complaint filed by Lynn L. Tavenner, as
                  Chapter 7 Trustee) filed by Georgina C Shepard of Arnall Golden Gregory
                  LLP on behalf of P. Douglas Benson. (Attachments: # 1 Proposed Order).
  37              Memorandum in Support of P. Douglas Benson's Motion to Dismiss (Re:
                  related document(s)36 Motion to Dismiss Adversary Proceeding filed by P.
                  Douglas Benson) filed by Georgina C Shepard of Arnall Golden Gregory LLP
                  on behalf of P. Douglas Benson.
  38              Notice of Motion (Re: related document(s)36 Motion to Dismiss Adversary
                  Proceeding filed by P. Douglas Benson) filed by Georgina C Shepard of Arnall
                  Golden Gregory LLP on behalf of P. Douglas Benson.
  39              Motion to Dismiss Adversary Proceeding as to Josh Rosenfeld (Re: related
                  document(s)1 Complaint filed by Lynn L. Tavenner, as Chapter 7 Trustee)
                  filed by Georgina C Shepard of Arnall Golden Gregory LLP on behalf of Josh
                  Rosenfeld. (Attachments: # 1 Proposed Order)
  40              Memorandum in Support of Josh Rosenfeld's Motion to Dismiss (Re: related
                  document(s)39 Motion to Dismiss Adversary Proceeding filed by Josh
                  Rosenfeld) filed by Georgina C Shepard of Arnall Golden Gregory LLP on
                  behalf of Josh Rosenfeld.
  41              Notice of Motion (Re: related document(s)39 Motion to Dismiss Adversary
                  Proceeding filed by Josh Rosenfeld) filed by Georgina C Shepard of Arnall
                  Golden Gregory LLP on behalf of Josh Rosenfeld.




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       Dkt. No.                                     Description
  42              Joint Stipulation for Partial Dismissal By Lynn L. Tavenner, as Chapter 7
                  Trustee and Between filed by Brittany Jane Nelson of Quinn Emanuel on
                  behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  43              Opposition Brief (Re: related document(s)19 Motion for Withdrawal of
                  Reference (fee) filed by CVC Capital Partners) filed by Erika L. Morabito of
                  Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
                  (Attachments: # 1 Exhibit 1 # 2 Exhibit 2).
  44              Stipulation and Order By CVC Capital Partners and Between Lynn L.
                  Tavenner, as Chapter 7 Trustee (Re: related document(s)19 Motion for
                  Withdrawal of Reference (fee) filed by CVC Capital Partners) filed by
                  Michael E. Hastings of Woods Rogers PLC on behalf of CVC Capital
                  Partners.
  45              Defendant's Brief in Further Support of Motion to Withdraw the
                  Reference (Re: related document(s)19 Motion for Withdrawal of Reference
                  (fee) filed by CVC Capital Partners) filed by Michael E. Hastings of Woods
                  Rogers PLC on behalf of CVC Capital Partners.
  46              Transmittal of Withdrawal of Reference to the U. S. District Court (Re: related
                  document(s)19 Motion for Withdrawal of Reference (fee) filed by CVC
                  Capital Partners).
  49              Stipulation FOR EXTENSION OF TIME TO RESPOND TO DEFENDANTS'
                  MOTIONS TO DISMISS By Lynn L. Tavenner, as Chapter 7 Trustee and
                  Between (Re: related document(s)36 Motion to Dismiss Adversary Proceeding
                  filed by P. Douglas Benson, 39 Motion to Dismiss Adversary Proceeding filed
                  by Josh Rosenfeld) filed by Brittany Jane Nelson of Quinn Emanuel on behalf
                  of Lynn L. Tavenner, as Chapter 7 Trustee.
  50              Order of District Court Referring Motion to Withdraw to Bankruptcy Judge
                  (Re: related document(s)19 Motion for Withdrawal of Reference (fee) filed by
                  CVC Capital Partners).
  51              Proposed Findings of Fact and Conclusions of Law (Re: related
                  document(s)19 Motion for Withdrawal of Reference (fee) filed by CVC
                  Capital Partners, 43 Opposition Brief filed by Lynn L. Tavenner, as Chapter 7
                  Trustee, 45 Brief filed by CVC Capital Partners).
  53              Proposed Stipulation and Order Among CVC Advisers (India) Private Limited
                  and Lynn L Tavenner, as Chapter 7 Trustee By CVC Capital Partners and
                  Between Lynn L. Tavenner, as Chapter 7 Trustee (Re: related
                  document(s)19 Motion for Withdrawal of Reference (fee) filed by CVC
                  Capital Partners, 23 Motion to Dismiss Adversary Proceeding filed by CVC
                  Capital Partners) filed by Michael E. Hastings of Woods Rogers PLC on
                  behalf of CVC Capital Partners.
  54              Stipulation and Order (Re: related document(s)19 Motion for Withdrawal of
                  Reference (fee) filed by CVC Capital Partners, 23 Motion to Dismiss
                  Adversary Proceeding filed by CVC Capital Partners, 53 Stipulation filed by
                  CVC Capital Partners)

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       Dkt. No.                                     Description
  56              Sealed Motion/Application filed by Erika L. Morabito of Quinn Emanuel on
                  behalf of Lynn L. Tavenner, as Chapter 7 Trustee. (Attachments: # 1 Exhibit A
                  # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D).
  57              Notice of Hearing (Re: related document(s)56 Sealed Document filed by Lynn
                  L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn
                  Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee. Hearing
                  scheduled for 6/8/2022 at 01:00 PM at Judge Huennekens' Courtroom, 701 E.
                  Broad St., Rm. 5000, Richmond, Virginia.
  59              Notice of Hearing (Re: related document(s)56 Sealed Document filed by Lynn
                  L. Tavenner, as Chapter 7 Trustee, 57 Notice of Hearing filed by Lynn L.
                  Tavenner, as Chapter 7 Trustee, 58 Notice of Deficient Filing Issued) filed by
                  Erika L. Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as
                  Chapter 7 Trustee. Hearing scheduled for 6/8/2022 at 01:00 PM at Judge
                  Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
  61              Objection to Motion to Sealed Document (Re: related document(s)56 Sealed
                  Document filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed by Kathryn
                  R. Montgomery of Office of the United States Trustee on behalf of John P.
                  Fitzgerald III.
  62              Objection to Trustee's Motion for Order Approving Judicially Mediated
                  Settlement and Compensation to Counsel, and Sealed Document (Re: related
                  document(s)56 Sealed Document filed by Lynn L. Tavenner, as Chapter 7
                  Trustee) filed by Kathryn R. Montgomery of Office of the United States
                  Trustee on behalf of John P. Fitzgerald III.
  63              Motion for Status Hearing and A Scheduling Order, Notice of Motion and
                  Notice of Hearing (Re: related document(s)56 Sealed Document filed by Lynn
                  L. Tavenner, as Chapter 7 Trustee) Hearing scheduled for 5/25/2022 at 11:00
                  AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond,
                  Virginia. Filed by Kathryn R. Montgomery of Office of the United States
                  Trustee on behalf of John P. Fitzgerald III
  64              Motion to Expedite Hearing with Proposed Order and Notice of Hearing (Re:
                  related document(s)63 Motion for Status Hearing filed by John P. Fitzgerald,
                  Notice of Motion and Notice of Hearing) filed by Kathryn R. Montgomery of
                  Office of the United States Trustee on behalf of John P. Fitzgerald III. Hearing
                  scheduled for 5/25/2022 at 11:00 AM at Judge Huennekens' Courtroom, 701
                  E. Broad St., Rm. 5000, Richmond, Virginia.
  65              Objection to (Re: related document(s)63 Motion for Status Hearing filed by
                  John P. Fitzgerald) filed by Erika L. Morabito of Quinn Emanuel on behalf of
                  Lynn L. Tavenner, as Chapter 7 Trustee.
  69              Sealed Objection (Related Document(s)56 Sealed Document filed by Lynn L.
                  Tavenner, as Chapter 7 Trustee) filed by Kathryn R. Montgomery of Office of
                  the United States Trustee on behalf of John P. Fitzgerald III.




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       Dkt. No.                                     Description
  70              Statement (Notice of Objection and Hearing set for 6/8/2022 at 1:00
                  p.m.). (Re: related document(s)69 Sealed Document filed by John P.
                  Fitzgerald) filed by Kathryn R. Montgomery of Office of the United States
                  Trustee on behalf of John P. Fitzgerald III.
  71              Motion to File Document(s) Under Seal and Reservation of Rights, with
                  Notice of Motion, and with Notice of Hearing, (Related Document(s)56 Sealed
                  Document filed by Lynn L. Tavenner, as Chapter 7 Trustee, 69 Sealed
                  Document filed by John P. Fitzgerald, 70 Statement filed by John P.
                  Fitzgerald) filed by Kathryn R. Montgomery of Office of the United States
                  Trustee on behalf of John P. Fitzgerald III. Hearing scheduled for 6/8/2022 at
                  01:00 PM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
                  Richmond, Virginia.
  72              Motion to Expedite Hearing with Notice and Proposed Order, and with Notice
                  of Hearing, (Related Document(s)71 Motion to File Documents(s) Under Seal
                  filed by John P. Fitzgerald) filed by Kathryn R. Montgomery of Office of the
                  United States Trustee on behalf of John P. Fitzgerald III. Hearing scheduled
                  for 6/8/2022 at 01:00 PM at Judge Huennekens' Courtroom, 701 E. Broad St.,
                  Rm. 5000, Richmond, Virginia.
  73              Sealed Certification/Declaration/Statement(Re: related document(s)56 Sealed
                  Document filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L.
                  Morabito of Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7
                  Trustee. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4
                  # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9
                  # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit
                  14).
  75              Order to Seal Omnibus Settlement Agreement and Related Documents,
                  Information, and Hearings.
  77              Sealed Answer/Response/Reply(Re: related document(s)56 Sealed Document
                  filed by Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of
                  Quinn Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  78              Amended Sealed Exhibit(Re: related document(s)56 Sealed Document filed by
                  Lynn L. Tavenner, as Chapter 7 Trustee) filed by Erika L. Morabito of Quinn
                  Emanuel on behalf of Lynn L. Tavenner, as Chapter 7 Trustee.
  81              Proposed Stipulation and Order By CVC Capital Partners and Between
                  Chapter 7 Trustee (Re: related document(s)19 Motion for Withdrawal of
                  Reference (fee) filed by CVC Capital Partners) filed by Michael E. Hastings of
                  Woods Rogers PLC on behalf of CVC Capital Partners.
  82              Stipulation and Order (Re: related document(s)19 Motion for Withdrawal of
                  Reference (fee) filed by CVC Capital Partners).
  83              Notice of Appeal Re: Oral Ruling on July 14, 2022, of U.S. Bankruptcy Court
                  EDVA Granting Motion to Seal Settlement Agreement & Related Documents,
                  Information and Hearings [Order Not Entered on Docket] filed by Kathryn R.
                  Montgomery of Office of the United States Trustee on behalf of John P.

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       Dkt. No.                                      Description
                  Fitzgerald III




  84              Exhibit 1 (Transcript of Open Court Hearing on July 14, 2022) (Re: related
                  document(s)83 Notice of Appeal filed by John P. Fitzgerald)
  85              Sealed Exhibit (Related Document(s)83 Notice of Appeal filed by John P.
                  Fitzgerald) filed by Kathryn R. Montgomery of Office of the United States
                  Trustee on behalf of John P. Fitzgerald III


                                           Respectfully Submitted,


 Dated: August 2, 2022                               John P. Fitzgerald, III
                                                     Acting United States Trustee, Region Four

                                       By: /s/ Kathryn R. Montgomery
                                           Kathryn R. Montgomery (Va. Bar No. 42380)
                                           Shannon Pecoraro (Va. Bar No. 46864)
                                           Jason B. Shorter (Va. Bar No. 80929)
                                           Department of Justice
                                           Office of the United States Trustee
                                           701 East Broad Street, Suite 4303
                                           Richmond, Virginia 23219
                                           (804) 771-2310
                                           kathryn.montgomery@usdoj.gov
                                           shannon.pecoraro@usdoj.gov
                                           jason.b.shorter@usdoj.gov




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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 2nd day of August, 2022, a true and correct copy of
 the foregoing document was served via first class mail and/or electronic mail upon: (i) all parties
 and counsel requesting service via the Court’s ECF system, (ii) the Appellee by counsel, (iii) all
 other interested parties by counsel or registered agent as set forth above, (iv) the 20 largest
 unsecured creditors as listed on the Debtor’s schedules, (v) the Service List as defined by the
 governing Case Management Order, and (vi) all Persons identified in paragraph 4 of the FAO
 Procedures Order (ECF 533), as modified by the Order Modifying Settlement Procedures for FAO
 Actions (ECF 929).


                                                        By: /s/ Kathryn R. Montgomery
                                                            Kathryn R. Montgomery, Esq., AUST




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